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                        WMO Statement on
                        the State of the
                        Global Climate in 2017
WEATHER CLIMATE WATER




                        WMO-No. 1212


                                                                                                   P00000084584
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                                                GREENHOUSE
                                                    GAS
                                             CONCENTRATIONS
                                                CONTINUE
                         2017:
                                                 RISING                                                  2013–2017:
                    WARMEST                                                                            WARMEST
                    NON-EL NIÑO                                                                        5 YEARS
                        YEAR                                                                           ON RECORD



        GLOBAL
      OCEAN HEAT                    State of the                                                                                                 SEA-LEVEL
       CONTENT AT                                                                                                                                   RISE
       RECORD                      Global Climate                                                                                                  CONTINUES
        LEVELS
                                       2017
                                                                                                         ARCTIC AND
                      OCEAN                                                                              ANTARCTIC
                    ACIDIFICATION                                                                         SEA ICE
                     CONTINUES                                                                         WELL BELOW
                                                                                                        AVERAGE




                                                                    AGRICULTURE
                                   +41 MILLION ACCOUNTED
                                                   ≈26%
                                                             FOR
                                                            OF
                                       AFFECTED BY DAMAGES AND LOSSES
                                    FLOODS ASSOCIATED WITH
                                                   CLIMATE-RELATED
                                     IN SOUTH ASIA
                    2ND YEAR OF                    DISASTERS
                                                                   ≈30%
                       MAJOR                                  ce    Food
                                                        s Offi of   Orga and A                          OF THE WORLD’S
                                                ationinationirs                 g
                                            ed N            ffa      Unitnizationriculture
                                       Unit e Coord
                    BLEACHING          for th
                                         Hum
                                              anita
                                                    ria n A               ed N of t
                                                                               ation he
                                                                                     s
                                                                                                        POPULATION FACES
                  IN THE GREAT                                                                          EXTREME
                                                                                             Wo rga




                 BARRIER REEF                                                                           HEATWAVES
                                                                                              O
                                                                                               rld niza
                                                                                                   He tio




                                    Climate risks,
                                                                                                      alt n
                                                                                                         h




                                                                                                                                          +892 000
                                                                                                              Commissioner for Refugees




             EXCEPTIONALLY
                                   extreme events
                                                                                                                United Nations High




             HEAVY RAINS
                     TRIGGERED                                                                                                            DROUGHT
                 DEADLY                                                                                                                   RELATED
              LANDSLIDES
               IN SIERRA LEONE
                                     and related                                                                                          INTERNAL
                                                                                                                                          DISPLACEMENTS
                AND COLOMBIA                                                                                                              IN SOMALIA
                                       impacts
                       MOST
                      COSTLY            2017                                                              DESTRUCTIVE
                                                                                                          WILDFIRES
                 HURRICANE                                                                                AROUND THE
                   SEASON                                                                                 WORLD
                       ON RECORD




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                                                                                                                                                                   P00000084587
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Foreword
For the past 25 years, the World Meteorological     El Niño event, and one of the three warmest
Organization (WMO) has published an annual          years behind the record-setting 2016. The
Statement on the State of the Global Climate        world’s nine warmest years have all occurred
in order to provide authoritative scientific        since 2005, and the five warmest since 2010.
information about the global climate and
significant weather and climate events              Extreme weather claimed lives and destroyed
occurring around the world. As we mark the          livelihoods in many countries in 2017. Fuelled
25th anniversary, and following the entry into      by warm sea-surface temperatures, the North
force of the Paris Agreement, the importance        Atlantic hurricane season was the costliest ever
of the information contained in the WMO             for the United States, and eradicated decades
Statement is greater than ever. WMO will            of development gains in small islands in the
continue working to increase the relevance          Caribbean such as Dominica. Floods uprooted
of the information it provides to the Parties to    millions of people on the Indian subcontinent,
the United Nations Framework Convention on          whilst drought is exacerbating poverty and
Climate Change through this Statement and the       increasing migration pressures in the Horn of
annual WMO Greenhouse Gas Bulletin. These           Africa. It is no surprise that extreme weather
publications complement the assessment              events are identified as the most prominent
reports that the Intergovernmental Panel on         risk facing humanity in the World Economic
Climate Change (IPCC) produces every six to         Forum’s Global Risks Report 2018.
seven years.
                                                    Because the societal and economic impacts
Since the inaugural Statement on the State          of climate change have become so severe,
of the Global Climate, in 1993, scientific          WMO has partnered with other United Nations
understanding of our complex climate system         organizations to include information in the
has progressed rapidly. This is particularly        Statement on how climate has af fected
true with respect to our understanding of           migration patterns, food security, health and
mankind’s contribution to climate change,           other sectors. Such impacts disproportionately
and the nature and degree of such change.           affect vulnerable nations, as evidenced in a
This includes our ability to document the           recent study by the International Monetary
occurrence of extreme weather and climate           Fund, which warned that a 1 °C increase in
events and the degree to which they can be          temperature would cut significantly economic
attributed to human influences on the climate.      growth rates in many low-income countries.

In the past quarter of a century, atmospheric       I would like to take this opportunity to express
concentrations of carbon dioxide – whose            my gratitude to the National Meteorological
rising emissions, along with those of other         and Hydrological Services of WMO Members,
greenhouse gases, are driving anthropogenic         international and regional data centres and
climate change – have risen from 360 parts          agencies, and climate experts from around
per million (ppm) to more than 400 ppm. They        the world for their contributions, and to United
will remain above that level for generations        Nations sister agencies for their valuable input
to come, committing our planet to a warmer          on societal and economic impacts. They have
future, with more weather, climate and water        greatly assisted in ensuring that this annual
extremes. Climate change is also increasingly       Statement achieves the highest scientific
manifested in sea level rise, ocean acidification   standards and societal relevance and informs
and heat, melting sea ice and other climate         action on the Paris Agreement, the Sendai
indicators.                                         Framework for Disaster Risk Reduction and
                                                    the United Nations Sustainable Development
The global mean temperature in 2017                 Goals.
was approximately 1.1 °C above the pre-
industrial era, more than half way towards
the maximum limit of temperature increase
of 2 °C sought through the Paris Agreement,
which further strives to limit the increase to
1.5 °C above pre-industrial levels. The year                         (P. Taalas)
2017 was the warmest on record without an                        Secretary-General



                                                                                                             3


                                                                                                          P00000084588
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        Executive summary
        Global mean temperatures in 2017 were                          across Somalia. From November 2016 to
        1.1  °C  ±  0.1  °C above pre-industrial levels.               December 2017, 892  000  drought-related
        Whilst 2017 was a cooler year than the record-                 displacements were recorded by the United
        setting 2016, it was still one of the three                    Nations High Commissioner for Refugees
        warmest years on record, and the warmest not                   (UNHCR).
        influenced by an El Niño event. The average
        global temperature for 2013–2017 is close                      In August and September 2017, the three
        to 1 °C above that for 1850–1900 and is also                   major and devastating hurricanes that made
        the highest five-year average on record.                       landfall in the southern United States and in
        The world also continued to see rising sea                     several Caribbean islands in rapid succession
        levels, with some acceleration, and increasing                 broke modern records for such weather
        concentrations of greenhouse gases. The                        extremes and for loss and damage.
        cryosphere continued its contraction, with
        Arctic and Antarctic sea ice shrinking.                        The information used in this repor t is
                                                                       sourced from a large number of National
        The overall risk of heat-related illness or                    Meteorological and Hydrological Services
        death has climbed steadily since 1980, with                    (NMHSs) and associated institutions, as
        around 30% of the world’s population now                       well as Regional Climate Centres, the World
        living in climatic conditions that deliver deadly              Climate Research Programme (WCRP), the
        temperatures at least 20 days a year.                          Global Atmosphere Watch (GAW) and Global
                                                                       Cryosphere Watch (GCW). Information has
        There were many significant weather and                        also been supplied by a number of other
        climate events in 2017, including a very                       international organizations, including the
        active North Atlantic hurricane season, major                  Food and Agriculture Organization of the
        monsoon floods in the Indian subcontinent,                     United Nations (FAO), the World Food
        and continuing severe drought in parts of east                 Programme ( W FP), the World Health
        Africa. This contributed to 2017 being the year                Organization (WHO), the United Nations
        with the highest documented economic losses                    High Commissioner for Refugees (UNHCR),
        associated with severe weather and climate                     the International Organization for Migration
        events. Extreme weather events continue to be                  (IOM), the International Monetar y Fund
        rated by the World Economic Forum as amongst                   (IMF), the United Nations International
        the most significant risks facing humanity, both               Strategy for Disaster Reduction (UNISDR)
        in terms of likelihood and impact.1                            and the Intergovernmental Oceanographic
                                                                       Commission of the United Nations
        Massive internal displacement in the context                   Ed u c a t i o n a l, S c i e n t i f i c a n d C u l t ur a l
        of drought and food insecurity continues                       Organization (IOC-UNESCO).


                                                    Values of key climate indicators

                           Indicator                          Time period                  Value                  Ranking
            Global mean surface-temperature 2017,                                                          Second-highest
                                                                                    +0.46°C
            anomaly (1981–2010 baseline)    annual mean                                                    on record
            Global ocean heat content                     2017,                                            Highest on
                                                                                    1.581 x 1023 J
            change, 0–700 metre layer                     annual mean                                      record
            Global mean CO2 surface mole                  2016,                     403.3 parts            Highest on
            fraction                                      annual mean               per million            record
            Global mean sea-level change                                                                   Highest on
                                                          2017, December            8.0 cm
            since 1993                                                                                     record
            Arctic sea-ice extent summer                                            4.64 million           Eighth-lowest
                                                          2017, September
            minimum                                                                 km2                    on record

        1
         	 World Economic Forum, 2018: The Global Risks Report 2018.




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Key climate indicators
TEMPERATURE                                                                                                    1.25
                                                                                                                         JRA-55




                                                                     Global average temperature anomaly (°C)
                                                                                                                         ERA-Interim
The year 2017 was one of the world’s three                                                                     1.00      HadCRUT.4.6.0.0
warmest years on record. A combination                                                                                   GISTEMP
                                                                                                                         NOAAGlobalTemp
of f ive datasets, three of them using                                                                         0.75
conventional sur face obser vations and
two of them reanalyses, 2 shows that global                                                                    0.50

mean temperatures were 0.46  °C ± 0.1  °C
                                                                                                               0.25
above the 1981–2010 average, 3 and about
1.1 °C ± 0.1 °C above pre-industrial levels.4 By                                                               0.00
this measure, 2017 and 2015 were effectively
indistinguishable as the world’s second and                                                                    ‒0.25
third warmest years on record, ranking only
behind 2016, which was 0.56  °C above the                                                                               1860   1880   1900    1920     1940   1960   1980     2000     2020
                                                                                                                                                     Year
1981−2010 average. The years 2015, 2016
and 2017 were clearly warmer than any year
prior to 2015, with all pre-2015 years being at                     In the individual datasets, 2017 was second-                                                     Figure 1. Global mean
least 0.15 °C cooler than 2015, 2016 or 2017.                       warmest in the two reanalysis datasets                                                           temperature anomalies,
                                                                    (ERA-Interim and JRA-55) and in the dataset                                                      with respect to the
The world’s nine warmest years have all                             from the US National Aeronautics and Space                                                       1850–1900 baseline, for
                                                                                                                                                                     the five global datasets
occurred since 2005, and the five warmest                           Administration (NASA), and third-warmest in
                                                                                                                                                                     (Source: UK Met Office
since 2010, whilst even the coolest year of                         the datasets from the US National Oceanic                                                        Hadley Centre)
the 21st century – 2008, 0.09  °C above the                         and Atmospheric Administration (NOAA) and
1981−2010 average – would have ranked as                            the UK Met Office Hadley Centre/Climatic
the second-warmest year of the 20 th century.                       Research Unit (CRU). Differences between
                                                                    individual datasets primarily relate to different
The five-year mean temperature for 2013–                            ways in which they analyse data-sparse areas,
2017, 0.4 °C above the 1981–2010 average (and                       especially in the Arctic which has experienced
1.0 °C above pre-industrial values), is also the                    some of the world’s strongest warming in
highest on record. A five-year average gives                        recent years.
a longer-term perspective on recent global
temperatures whilst being less influenced                           Global temperatures were well above average
than annual temperatures by year-to-year                            throughout the year. The strongest anomalies
fluctuations such as those associated with                          were early in the year, with each of the months
the El Niño/Southern Oscillation (ENSO).                            from January to March being at least 0.5 °C
                                                                    above the 1981–2010 average, and March
                                                                    0.64  °C above. For the remainder of the

	 The conventional datasets used are those produced by the US
2                                                                                                                The world’s warmest years on record
  National Oceanic and Atmospheric Administration (NOAA);
  the US National Aeronautics and Space Administration                                                                         Anomaly in respect of the
                                                                                                                 Year
  (NASA); and the Met Office, Hadley Centre/Climatic Research                                                                   1981–2010 average (°C)
  Unit (CRU), University of East Anglia (United Kingdom). The                                                    2016                        +0.56
  two reanalysis datasets used are the ERA-Interim dataset,
  produced by the European Centre for Medium-Range Weather                                                       2017                        +0.46
  Forecasts (ECMWF), and the JRA-55 dataset, produced by                                                         2015                        +0.45
  the Japan Meteorological Agency (JMA).
	 For purposes other than comparison of temperatures with
3                                                                                                                2014                        +0.30
  pre-industrial levels, this report uses 1981–2010 as a standard                                                2010                        +0.28
  baseline period, as this is the period for which the widest
  range of datasets (especially satellite-based datasets) is                                                    2005                         +0.27
  available.                                                                                                     2013                        +0.24
	 For the purposes of this report, 1850–1900 is used as the
4
                                                                                                                2006                         +0.22
  baseline for pre-industrial temperatures. There is no appre-
  ciable difference between the temperature change derived                                                      2009                         +0.21
  from this baseline and that derived from other baselines
                                                                                                                 1998                        +0.21
  used historically, such as 1880–1900.




                                                                                                                                                                                   5


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Figure 2. Surface-air
temperature anomaly for
2017, with respect to the
1981-2010 average
(Source: ERA-Interim
data, European Centre
for Medium-range
Weather Forecasts
(ECMWF) Copernicus
Climate Change Service)




                                                   ‒10   ‒5   ‒3   ‒2   ‒1 ‒0.5   0   0.5   1   2     3       5   10



                            year, monthly global temperature anomalies                data also indicated some areas of below-
                            were between 0.3 °C and 0.5 °C, the smallest              average temperatures in parts of Africa where
                            monthly anomaly being 0.34 °C in June.                    conventional data are sparse, including Libya
                                                                                      and parts of the interior of southern Africa.
                            The year 2017 was clearly the warmest on                  Temperatures were 1  °C or more above
                            record not influenced by an El Niño. Strong               average over most of the higher latitudes
                            El Niño events, such as the one that occurred             of Asia, including the Asian part of Russia,
                            in 2015/2016, typically increase global mean              Mongolia and northern China. Other regions
                            temperatures by 0.1 °C to 0.2 °C in the year              where 2017 temperatures were at least 1 °C
                            in which the event finishes, with a smaller               above average included north-west Canada
                            increase in the event’s first year. In the case           and Alaska, the southern half of the United
                            of the 2015/2016 event, global temperatures               States and parts of northern Mexico, and parts
                            were strongly boosted from October 2015 to                of eastern Australia. The largest anomalies,
                            April 2016, having a substantial influence on             above 2  °C, were found at high northern
                            both the 2015 and 2016 annual values. Neutral             latitudes, particularly in eastern Russia and
                            ENSO conditions prevailed for most of 2017,               north-west North America. Some coastal
                            with a weak La Niña developing late in the year.          locations experiencing feedback from reduced
                                                                                      sea-ice presence (such as Svalbard) were as
                            Warmth in 2017 was notable for its spatial                much as 4 °C above average.
                            ex tent. The only land area of any size
                            outside Antarctica that had annual mean                   Despite the widespread high temperatures,
                            temperatures in 2017 below the 1981–2010                  only limited regions had their warmest year
                            average in conventional surface analyses                  on record in 2017. Of 47 countries reporting
                            was a section of western Canada centred on                mean temperatures at the national scale,
                            the interior of British Columbia. Reanalysis              only Argentina, Mauritius, Mexico, Spain and

                                                              Continental temperature anomalies

                                                       Anomaly in respect of
                                   Region                                                           2017 rank          Existing record
                                                     the 1981–2010 average (°C)
                            North America                           +0.84                                 6             +1.32 (2016)
                            South America                           +0.54                                 2             +0.69 (2015)
                            Europe                                  +0.73                                 5             +1.18 (2014)
                            Africa                                  +0.54                                 4             +0.83 (2010)
                            Asia                                    +0.88                                 3             +0.92 (2015)
                            Oceania                                 +0.51                                 6             +0.73 (2013)




       6


                                                                                                                                  P00000084591
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                             410                                                                   1900                                                                   330
                             400
  CO2 mole fraction (ppm)




                                                                                                                                               N2O mole fraction (ppb)
                                                                         CH4 mole fraction (ppb)
                                                                                                   1850                                                                   325
                             390
                                                                                                   1800                                                                   320
                             380
                             370                                                                   1750                                                                   315

                             360                                                                                                                                          310
                                                                                                   1700
                             350
                                                                                                                                                                          305
                             340                                                                   1650
                                                                                                                                                                          300
                             330                                                                   1600
                                   1985 1990 1995 2000 2005 2010 2015                                     1985 1990 1995 2000 2005 2010 2015                                    1985 1990 1995 2000 2005 2010 2015
                                                  Year                                                                   Year                                                                  Year

                             4                                                                     20                                                                      2
  CO2 growth rate (ppm/yr)




                                                                                                                                               N2O growth rate (ppb/yr)
                                                                        CH4 growth rate (ppb/yr)



                                                                                                   15
                             3                                                                                                                                            1.5

                                                                                                   10
                             2                                                                                                                                             1
                                                                                                   5

                             1                                                                                                                                            0.5
                                                                                                   0

                             0                                                                     -5                                                                      0
                                 1985 1990 1995 2000 2005 2010 2015                                     1985 1990 1995 2000 2005 2010 2015                                      1985 1990 1995 2000 2005 2010 2015
                                                Year                                                                   Year                                                                    Year




Uruguay had their warmest year on record.                                                                   from a global in-situ observational network                                         Figure 3. Top row:
The Asian part of Russia also had its warmest                                                               for carbon dioxide (CO2), methane (CH4) and                                         Globally averaged mole
year on record (the Russian Federation as a                                                                 nitrous oxide (N2O).                                                                fraction (measure of
whole ranked fourth), as did five states in                                                                                                                                                     concentration), from
                                                                                                                                                                                                1984 to 2016, of CO 2 in
the southern half of the United States, and                                                                 Global average figures for 2017 will not be
                                                                                                                                                                                                parts per million (left),
the eastern Australian states of New South                                                                  available until late 2018. Real-time data from                                      CH 4 in parts per billion
Wales and Queensland.                                                                                       a number of specific locations, including                                           (middle) and N 2 O in parts
                                                                                                            Mauna Loa (Hawaii) and Cape Grim (Tasmania)                                         per billion (right). The
All continents had one of their six warmest                                                                 indicate that levels of CO 2 , CH 4 and N 2 O                                       red line is the monthly
years on record in 2017, with South America                                                                 continued to increase in 2017, but it is not                                        mean mole fraction with
ranking second, Asia third, Africa fourth,                                                                  yet clear how the rate of increase compares                                         the seasonal variations
Europe fifth, and North America and Oceania                                                                 with that in 2016 or in previous years.                                             removed; the blue
                                                                                                                                                                                                dots and line depict
sixth5. Temperatures in Africa were at record
                                                                                                                                                                                                the monthly averages.
levels through mid-year, with monthly records                                                               In 2016, GHG concentrations reached new                                             Bottom row: The growth
set in May, June, July and September, but it                                                                highs with CO2 at 403.3±0.1 parts per million                                       rates representing
cooled considerably from October onwards.                                                                   (ppm), CH4 at 1853±2 parts per billion (ppb)                                        increases in successive
South America had its second-warmest                                                                        and N 2 O at 328.9±0.1 ppb. These values                                            annual means of mole
summer and second-warmest winter on                                                                         constitute, respectively, 145%, 257% and                                            fractions for CO 2 in parts
record, whilst Oceania had its warmest July.                                                                122% of pre-industrial (before 1750) levels.                                        per million per year
                                                                                                                                                                                                (left), CH 4 in parts per
                                                                                                                                                                                                billion per year (middle)
GREENHOUSE GASES                                                    The increase in CO2 from 2015 to 2016 was
                                                                                                                                                                                                and N 2 O in part per
                                                                    larger than the increase observed from 2014 to                                                                              billion per year (right).
Increasing levels of greenhouse gases (GHGs) 2015 and the average over the last decade, and                                                                                                     (Source: WMO Global
in the atmosphere are key drivers of climate it was the largest annual increase observed                                                                                                        Atmosphere Watch)
change. Atmospheric concentrations are in the post-1984 period. The El Niño event
formed as a balance between emissions due contributed to the increased growth rate in
to human activities and the net uptake from 2016, both through higher emissions from
the biosphere and oceans. They are expressed terrestrial sources (e.g. forest fires) and
in terms of dry mole fractions calculated decreased uptake of CO2 by vegetation in
                                                                    drought-affected areas. The El Niño event in
                                                                    2015/2016 contributed to the increased growth
5
 	 Continental temperatures are as reported by NOAA, and
   are available at https://​w ww​. ncdc​. noaa​.gov/​sotc/​global​ rate through complex two-way interactions
   -regions/​2 01801.                                               between climate change and the carbon cycle.



                                                                                                                                                                                                               7


                                                                                                                                                                                                       P00000084592
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         PALEO AND CURRENT CONCENTRATIONS OF CO2

         The reconstruction of past climate provides                                         how fast atmospheric CO2 changed in the past.
         an oppor tunit y to learn how the Ear th                                            After the last ice age, some 23 000 years ago,
         system responded to high concentrations                                             CO2 concentrations and temperature began to
         of atmospheric carbon dioxide (CO 2). To                                            rise. During the period recorded in the West
         obtain information about the state of the                                           Antarctica ice core, fastest CO2 increases
         atmosphere before instrumental records                                              (16 000, 15 000 and 12 000 years ago) ranged
         began, combinations of proxies are used                                             between 10 and 15 ppm over 100–200 years.
         in which physical characteristics of past                                           In comparison, CO2 has increased by 120 ppm
         environmental conditions are preserved.                                             in the last 150  years due to combustion of
         Tiny bubbles of ancient air captured in ice                                         fossil fuel.
         cores when new snow accumulating at the top
         solidified into ice, can be directly measured                                       Periods of the past with a CO2 concentration
         and give some insight into the composition                                          similar to the current one can provide estimates
         of the atmosphere in the past.                                                      for the associated “equilibrium” climate. In
                                                                                             the mid-Pliocene, 3–5  million years ago,
         Direct measurements of atmospheric CO2 over                                         the last time that the Earth’s atmosphere
         the past 800 000 years (see figure) provide                                         contained 400 ppm of CO2, global mean surface
         proof that over the past eight swings between                                       temperature was 2–3 °C warmer than today,
         ice ages (glacials) and warm periods similar to                                     the Greenland and West Antarctic ice sheets
         today (interglacials) atmospheric CO2 varied                                        melted and even some of the East Antarctic
         between 180 and 280 parts per million (ppm),                                        ice was lost, leading to sea levels that were
         demonstrating that today’s CO2 concentration                                        10–20 m higher than they are today. During
         of 400  ppm exceeds the natural variability                                         the mid-Miocene (15–17  million years ago),
         seen over hundreds of thousands of years.                                           atmospheric CO2 reached 400–650 ppm and
         Over the past decade, new high-resolution ice                                       global mean surface temperature was 3–4 °C
         core records have been used to investigate                                          warmer than today.


                                                                                                                                                            RCP’s
                                 2000                                                                                                                                       +8˚C




                                 1000
         Atmospheric CO2 (ppm)




                                  900                                    Leaf stomata     Boron        Alkenones         Ice cores
                                 800                                                    isotopes
                                 700

                                 600

                                 500

                                 400
                                             2017                                                                                                                           +1˚C
                                 300

                                        Pre-industrial

                                 200

                                                                                                                    Ice core data
                                                                                                                                                    2000
                                                                                                                                             1900




                                                                                                                                                                         2300
                                                                                                                                      1800




                                                                                                                                                                  2200
                                                                                                                                                           2100




                                        50          40   30    20   10   5       4       3         2       1
                                                                                                                                200
                                                                                                                          400
                                                                                                                   600
                                                                                                           800




                                                                                                                                         0




                                                                    Million years ago                              Thousand years ago                Year CE

                  CE – Common Era


         Reconstructions of atmospheric CO 2 over the past 55 million years are generated from proxy data that include boron isotopes
         (blue circles), alkenones (black triangles) and leaf stomata (green diamonds). Direct measurements from the past 800 000 years
         are acquired from Antarctic ice cores and modern instruments (pink). Future estimates include representative concentration
         pathways (RCPs) 8.5 (red), 6 (orange), 4.5 (light blue), and 2.6 (blue). References for all data shown in this plot are listed in the
         extended online version (http://www.wmo.int/pages/prog/arep/gaw/ghg/ghg-bulletin13).




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                                                                                                                                                             P00000084593
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For CH4, the increase from 2015 to 2016 was           up to the second week of September, saw the
slightly smaller than that observed from 2014         size of the Antarctic ozone hole at levels close
to 2015 but larger than the average over the          to the 1979–2016 average. However, the polar
past decade. For N2O, the increase from 2015          vortex became unstable and elliptical in the
to 2016 was also slightly smaller than that           third week of September, with temperatures
observed from 2014 to 2015 and lower than             at the polar cap (60–90°S) rising 5–7 °C above
the average growth rate over the past 10 years.       the long-term mean. This resulted in a rapid
                                                      decrease in the size of the ozone hole before a
OZONE                                                 small increase around the end of September.

The 2017 Antarctic ozone hole was relatively          The average area of the ozone hole through
small by the standards of recent decades. This        the peak of the season (from 7 September to
largely reflects local atmospheric conditions         13 October) was 17.4 million km2. This is the
in 2017 and is not, in itself, indicative of a        smallest value since 2002 (12.0 million km2)
more sustained downward trend. Most ozone             and also smaller than in 2012, the lowest value    Figure 4. Area (millions
hole indicators show weak, non-significant            in the 2003–2016 period (17.8 million km2). The    of km 2 ) where the total
downward trends over the last 20 years.               average ozone hole area over the 30 worst          ozone column is less
                                                      consecutive days was 17.5 million km2. This        than 220 Dobson units.
                                                                                                         The year 2017 is shown
The daily ozone hole area reached a                   is also the lowest value observed since 2002
                                                                                                         in red. The most recent
maximum for the season of 19.6 million km2            (15.5  million  km 2 ) and again somewhat          years are shown for
on 11 September. The first part of the season,        smaller than in 2012 (18.9 million km2).           comparison as indicated
                                                                                                         by the legend. The
                                                                                                         smooth, thick grey line is
                                                                                                         the 1979–2016 average.
                 30
                                                                                                         The dark green-blue
                                                                                      1979‒2016          shaded area represents
                        Ozone hole area                                               2013               the 30 th to 70 th
                                                                                                         percentiles and the light
                 25                                                                   2014
                                                                                                         green-blue shaded area
                                                                                      2015               represents the 10 th and
                                                                                      2016               90 th percentiles for the
                                                                                                         time period 1979–2016.
                                                                                      2017
                 20                                                                                      The thin black lines
                                                                                                         show the maximum
Area [106 km2]




                                                                                                         and minimum values
                                                                                                         for each day during the
                 15                                                                                      1979–2016 period. The
                                                                                                         plot is made at WMO
                                                                                                         on the basis of data
                                                                                                         downloaded from the
                                                                                                         Ozone Watch website
                 10
                                                                                                         at the US National
                                                                                                         Aeronautics and Space
                                                                                                         Administration (NASA).
                                                                                                         The NASA data are
                 5                                                                                       based on satellite
                                                                                                         observations from the
                                                                                                         Ozone Mapping and
                                                                                                         Profiler Suite (OMPS),
                 0                                                                                       Ozone Monitoring
                       Jul       Aug          Sep           Oct           Nov           Dec              Instruments (OMI) and
                                                    Month                                                the Total Ozone Mapping
                                                                                                         Spectrometer (TOMS).




                                                                                                                       9


                                                                                                                P00000084594
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    The Global Carbon Budget
Josep G. Canadell, 1 Corinne Le Quéré, 2
                                 1                       2
                                                                                 concentration was 22.1±0.7 billion tonnes (54% of total
Glen Peters , 3 Robbie Andrew, 3 Pierre Fridlingstein, 4
                   3                         4
                                                                                 emissions; 2.85 ppm) which is larger than the average for
Robert B. Jackson , 5 Tatiana Ilyina 6
                             5                     6
                                                                                 2007–2016. Ocean and terrestrial ecosystems removed
                                                                                 9.5±1.8 billion tonnes of CO2 (23%) and 9.9±3.7 billion
        Accurately assessing carbon dioxide (CO 2)                               tonnes of CO2 (24%), respectively.
        emissions and redistribution within the
        atmosphere, oceans, and land – the “global                               There are substantial uncertainties in the quantification
        carbon budget” – helps us capture how humans                             of the land and ocean carbon sinks on sub-decadal
        are changing the Earth’s climate, supports the                           and decadal time scales, and in the reconstruction of
        development of climate policies, and improves                            cumulative emissions across centuries of the industrial
        projections of future climate change.                                    era, particularly historical emissions from changes in
                                                                                 land use.
Carbon dioxide emissions from fossil fuels and industry
have been growing for decades with pauses only during
global economic downturns. For the first time, emissions
stalled from 2014 to 2016 while the global economy                                                              45
continued to expand. Nonetheless, CO2 accumulated in                                                                                        Total emissions
                                                                                                                40
the atmosphere at unprecedented rates close to 3 parts
per million (ppm) per year in 2015 and 2016, despite                              Carbon dioxide (Gt CO2/yr)    35
stable fossil fuel emissions (figure, top). This surprising
dynamic was caused by strong El Niño warming in 2015                                                            30                                         Fossil fuels
                                                                                                                                                           and industry
and 2016, when the land CO2 sink was less efficient in                                                          25
removing atmospheric CO2, and emissions from fires
                                                                                                                20                          Atmospheric increase
were above average (in 2015). Preliminary data for 2017
show that emissions from fossil fuels and industry
                                                                                                                15
resumed growing at about 1.5% (0.7%–2.4%, leap year
adjusted), from 36.2±2.0 billion tonnes of CO2 in 2016                                                          10
to a record high of 36.6±2.0 billion tonnes in 2017 – 65%
higher than in 1990.                                                                                             5
                                                                                                                 0
Carbon dioxide emissions from change in land use were                                                             1980          1990        2000            2010     2017
4.8±2.6 billion tonnes in 2016, accounting for 12% of                                                                                    Year
all anthropogenic CO2 emissions, and are expected to
remain stable or slightly lower for 2017 on the basis                                                          40
of initial observations using satellite data. Together,                                                              Sources
                                                                                                               30
land use change and fossil fuel emissions reached an
estimated 41.5±4.4 billion tonnes of CO2 in 2017.                                                              20
                                                                                  CO2 flux (Gt CO2/yr)




                                                                                                               10                          Fossil fuels and industry
Of all anthropogenic CO2 emissions, only about 45%
remained in the atmosphere on an annual average over                                                                              Land-use change
                                                                                                                0
the past decade: 25% were removed by the oceans and                                                                                                           Ocean
30% were removed by the terrestrial biosphere (figure,                                                         ‒10                                          Land
bottom). However, due to the strong El Niño conditions,
                                                                                                               ‒20   Budget imbalance
the increase from 2015 to 2016 in atmospheric CO2
                                                                                                                                                              Atmosphere
                                                                                                               ‒30
	 Global Carbon Project, Commonwealth Scientific and Industrial Research
1                                                                                                                    Sinks
  Organisation (CSIRO) Oceans and Atmosphere, Canberra, Australia                                              ‒40
	 Tyndall Centre for Climate Change Research, University of East Anglia,
2
                                                                                                                 1900    1920     1940    1960      1980      2000 2016
  Norwich, United Kingdom
3
                                                                                                                                         Year
    	 Center for International Climate and Environmental Research (CICERO)
      – Oslo (CICERO), Oslo, Norway
4
                                                                                 Trends in anthropogenic CO 2 emissions and growth of atmospheric
    	 College of Engineering, Mathematics and Physical Sciences, University
                                                                                 CO 2 , 1980–2017. Total emissions minus fossil fuel emissions equals
      of Exeter, United Kingdom
                                                                                 emissions from change in land use (top). The historical global carbon
5
    	 Department of Earth System Science, Woods Institute for the Environment    budget, 1900–2016 (bottom) (Source: Global Carbon Project, http://www.
      and Precourt Institute for Energy, Stanford University, Stanford, United   globalcarbonproject.org/carbonbudget; Le Quéré, C. et al., 2018: The Global
      States                                                                     Carbon Budget 2017. Earth System Science Data, 10, 405–448); and March
6
    	 Max Planck Institute for Meteorology, Hamburg, Germany                     2018 updates).




          10


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THE OCEANS IN 2017                                                                                                                                                     Figure 5. 5 December
                                                                                                                                                                       2017 monthly sea-
TEMPERATURE                                                                                                                                                            surface temperature
                                                                                                                                                                       anomalies (°C), showing
                                                                                                                                                                       temperatures 2.5°C or
Global sea-surface temperatures in 2017
                                                                                                                                                                       more above average in
were somewhat below the levels of 2015 and                                                                                                                             the southern Tasman
2016, but still ranked as the third warmest                                                                                                                            Sea.
on record. The most significant sea-surface                                                                                                                            (Source: Australian
temperature anomalies were in the western                                                                                                                              Bureau of Meteorology)
tropical Pacific and the western and central
subtropical South Indian Ocean. In both
regions, sea-surface temperatures were
widely 0.5 °C to 1.0 °C above the 1981–2010
average, locally exceeding 1.0  °C above                                                              2.5 2.0 1.5 1.0 0.5 0.0 ‒0.5 ‒1.0 ‒1.5 ‒2.0 ‒2.5

average in the Indian Ocean, and were
generally at record-high levels. In contrast,
temperatures were slightly below average                    Ocean heat content, a measure of the heat
                                                                                                                                                                       Figure 6. Global
over most of the eastern Indian Ocean and                   in the oceans through their upper layers,
                                                                                                                                                                       ocean heat content
over the central and eastern equatorial Pacific,            reached new record highs in 2017. Mean ocean                                                               change (x 10 22 J) for
the latter being consistent with weak La Niña               heat content for 2017 for the 0–700  metre                                                                 the 0–700 metre layer:
conditions which developed late in the year.                layer was 158.1 ZJ, 8 6.9 ZJ higher than the                                                               three-monthly means
They were also slightly below average in                    previous annual mean record set in 2015. The                                                               (red), and annual (black)
parts of the far southern Atlantic. The area of             mean for the October–December 2017 quarter,                                                                and 5-year (blue)
cool waters in the north-east Atlantic south                163.4  ZJ, was also the highest quarterly                                                                  running means, from the
of Iceland was less prominent than in most                  value on record. The ocean heat content for                                                                US National Oceanic
                                                                                                                                                                       and Atmospheric
recent years.                                               the 0–2000 metre layer (233.5 ZJ) was also
                                                                                                                                                                       Administration (NOAA)
                                                            the highest on record, although records for                                                                dataset.
For the second successive year, above-                      this layer only extend back to 2005. Annual                                                                (Source: prepared by
average sea-surface temperatures off the                    records for the 0–700 metre layer were also                                                                WMO using data from
east coast of Australia resulted in significant             set for the northern hemisphere and for the                                                                NOAA National Centers
coral bleaching in the Great Barrier Reef,                  Atlantic and Pacific Oceans, although the                                                                  for Environmental
this time focused on central areas of the                   Indian Ocean had its lowest value since 2009.                                                              Information)
Reef rather than the northern areas affected
in 2016. 6 Significant bleaching was also                                                    20
reported in other parts of the western tropical                                                           3-month average October–December 2017
Pacific,7 including Micronesia and Guam,                                                                  Yearly average to end of 2017
                                                                                                          5-year average 2012–2017
although global bleaching was less extensive                                                 15

than it had been in 2016. Later in the year,
                                                                Heat content (1022 Joules)




exceptionally warm sea-surface temperatures                                                  10

(generally 2 °C or more above average, and
0.5 °C or more above previous records for the                                                 5
time of year) affected the southern Tasman
Sea, coinciding with record high monthly
                                                                                              0
temperatures in New Zealand (especially the
South Island) and Tasmania. Whilst marine
impacts of this event are still becoming                                                     ‒5

apparent, there has already been a shift in
the distribution of fish species, with snapper                                               ‒10
                                                                                               1950       1960           1970           1980             1990   2000         2010        2020
being caught off Fiordland (far south-west
New Zealand) for the first time.                                                                                                               Year




	 Australian Research Council (ARC) Centre of Excellence,
6

  Coral Reef Studies, https://​w ww​.coralcoe​.org​.au/​.   	 Data sourced from NOAA; 1 ZJ (zetajoule) = 10 21 J, a standard
                                                            8

	 NOAA Coral Reef Watch, coralreefwatch.noaa.gov.
7
                                                              unit of energy.




                                                                                                                                                                                    11


                                                                                                                                                                              P00000084596
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                                                100


Figure 7. Global mean                                                                                                           peaked in early 2016 at around 10 millimetres
sea-level time series                            80
                                                                  ESA Climate Change Initiative (SL_cci) data
                                                                                                                                above the 2004–2015 trend) continued to
(with seasonal cycle                             70               AVISO+ near-real-time Jason-3 data                            diminish and the GMSL reverted to values
removed), January                                                                                                               closer to the long-term trend. However, most
                                                 60
1993–January 2018,
                                                                                                                                recent sea-level data indicate that the GMSL
                               Sea level (mm)




from satellite altimetry                         50

multi-missions. Data                             40
                                                                                                                                has been rising again since mid-2017.
from AVISO                                       30
(Source: Collecte-                                                                                                              The pie charts show the contributions of
Localisation-Satellite
                                                 20
                                                                                                                                individual components of the sea-level budget
(CLS) – Laboratoire                              10
                                                                                                                                (expressed in percentage of the observed
d’Etudes en Géophysique                            0                                                                            global mean sea level) for two periods,
et Océanographie                                –10                                                                             1993–2004 and 2004–2015.9 It clearly shows
Spatiales (LEGOS))                                1993 1995 1997 1999 2001 2003 2005 2007 2009 2011 2013 2015 2017 2019
                                                                                      Time (year)                               that the magnitude of almost all components
                                                                                                                                has increased in recent years, particularly
                                                                                                                                melting of the polar ice sheets, mostly in
                              SEA LEVEL                                                                                         Greenland and to a lesser extent in Antarctica.
                                                                                                                                Accelerated ice-mass loss from the ice sheets
                              The global mean sea level (GMSL) was                                                              is the main cause of acceleration of the global
                              relatively stable in 2016 and early 2017. This                                                    mean sea-level rise, as revealed by satellite
                              is because the temporary influence of the                                                         altimetry. This is even clearer when year-to-
                              2015/2016 El Niño (during which the GMSL                                                          year fluctuations due to El Niño and La Niña
                                                                                                                                as well as temporary cooling from the 1991
 1993–2004                                                                                                                      Mt Pinatubo eruption are removed.10
 Sea-level rise                                                    Thermal                             Glaciers
                                                                                                    (0.71 mm/yr)
                                                                 expansion
 2.7 mm/yr                                                      (0.94 mm/yr)                                                    The bar chart (bottom) shows annual mean
                                                                                                            Greenland           altimetry-based sea level (blue bars) and
                                                                                                           (0.3 mm/yr)
                                                                                             Antarctica
                                                                                                                                sum of thermal expansion and ocean mass
                                                                       Land waters
                         Water vapour
                         (–0.03 mm/yr)
                                                                       (0.25 mm/yr)        (0.29 mm/yr)                         component (red bars) for the years 2005
                                                                                                                                to 2016. Black vertical bars are associated
                                                                                                          Total land ice: 47%   uncertainties. Thermal expansion is based
                                                                                                                                on Argo data11 and ocean mass is derived
 2004–2015                                                                                                                      from the Gravity Recovery and Climate
 Sea-level rise                                                    Thermal
                                                                                                   Glaciers
                                                                                                (0.78 mm/yr)
                                                                                                                                Experiment (GRACE) (updates from Johnson
                                                                 expansion
 3.5 mm/yr                                                      (1.14 mm/yr)                                                    and Chambers, 2013,12 Lutchke et al., 2013,13
                                                                                                        Greenland
                      Water vapour                                                                     (0.82 mm/yr)
                      (–0.03 mm/yr)                             Land waters
                                                                               Antarctica
                                                                (0.23 mm/yr)
                                                                             (0.33 mm/yr)


                                                                                                          Total land ice: 55%

                                                   50
                                                                                                                                9
                                                                                                                                 	 Dieng, H. et al., 2017: New estimate of the current rate of
Figure 8. Percentage                                               Observed global mean sea level
                                                                                                                                   sea level rise from a sea level budget approach. Geophysical
                                                                   Sum on thermal expansion and ocean mass
of individual                                      45                                                                              Research Letters, 44, doi:​10​.1002/​2 017GL073308.
contributions to global
                                                   40                                                                           10
                                                                                                                                     	 Nerem, R.S. et al., 2018: Climate-change-driven accelerated
mean sea-level rise
                                                   35                                                                                  sea-level rise detected in the altimeter era. Proceedings of
in 1993–2004 and
                                                                                                                                       the National Academy of Sciences of the United States of
2004–2015 (top); annual
                                  Sea level (mm)




                                                   30
                                                                                                                                       America, published on line on 13 February 2018.
sea-level budget
(2005–2016) (bottom)
                                                   25                                                                           11
                                                                                                                                     	Ibid.
(Source: Dieng, H. et al.,                         20                                                                           12
                                                                                                                                     	 Johnson, G. C. and D. P. Chambers, 2013: Ocean bottom
2017: New estimate of                                                                                                                  pressure seasonal cycles and decadal trends from GRACE
                                                   15
the current rate of sea                                                                                                                Release-05: Ocean circulation implications. Journal of
level rise from a sea
                                                   10                                                                                  Geophysical Research, Oceans, Vol.118, 9:4228–4240, doi:​
level budget approach.                                 5                                                                               10 ​.1002/ ​jgrc​. 20307.
Geophysical Research                                   0
                                                                                                                                13
                                                                                                                                     	 Luthcke, S.  B. et al., 2013: Antarctica, Greenland and
Letters, 44)                                                                                                                           Gulf of Alaska land-ice evolution from an iterated GRACE
                                                                  06




                                                                                         14
                                                                                         10
                                                                               09
                                                                              08
                                                           05



                                                                       07




                                                                                        12




                                                                                        16
                                                                                        15
                                                                                        13
                                                                                        11
                                                                                      20




                                                                                      20




                                                                                                                                       global mascon solution. Journal of Glaciology, 59:613–631,
                                                                20




                                                                                      20




                                                                                      20
                                                                            20



                                                                                      20



                                                                                      20



                                                                                      20
                                                                          20
                                                           20



                                                                     20




                                                                                           Time (year)
                                                                                                                                       doi:​10 ​. 3189/ ​2 013JoG12J147.




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                                                                                                                                                                                      P00000084597
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Watkins et al., 201514). The sea-level budget is
almost closed (i.e. the observed change can
be almost fully accounted for by the known                           400     Carbon Dioxide
changes in the contributing components)
                                                                     375
within respective error bars, although since




                                                               ppm
2012 the sum of contributions from thermal                           350
expansion and changes in ocean mass is                               325
generally slightly lower than the observed
change in annual sea level. The plot also                            300
shows a clear increase of the mean sea level                         8.15                                                     270
                                                                     8.10




                                                                                                                                      3 (μmol/kg)
from one year to another.                                                                                                     260
                                                                     8.05                                                     250
                                                                     8.00                                                     240

                                                               pH
OCEAN ACIDIFICATION
                                                                     7.95                                                     230




                                                                                                                                    CO2‒
                                                                     7.90
The ocean absorbs up to 30% of the annual                                                                                     220
emissions of anthropogenic CO 2 into the                             7.85                                                     210
                                                                     7.80
atmosphere, helping to alleviate the impacts
                                                                            1980 1985 1990 1995 2000 2005 2010 2015
of climate change on the planet. However,
                                                                                              Year
this comes at a steep ecological cost, as
the absorbed CO 2 reacts in seawater and
changes acidity levels in the ocean. More
precisely, this involves a decrease in seawater                food web, which are expected to result in
pH together with closely linked shifts in the                  increasing impacts on coastal economies.
carbonate chemistry of the waters, including                                                                     Figure 9. Trends in
the saturation state of aragonite, which is the                Further, ocean acidification does not impact      surface (< 50 m) ocean
main form of calcium carbonate used by key                     marine ecosystems in isolation. Multiple          carbonate chemistry
species to form shells and skeletal material                   other environmental stressors can interact        calculated from
                                                                                                                 observations obtained at
(e.g. reef-building corals and shelled molluscs).              with ocean acidification, such as ocean
                                                                                                                 the Hawaii Ocean Time-
Observations of marine acidity in open ocean                   warming and stratification, de-oxygenation        series (HOT) Program in
and coastal locations have revealed that                       and ex treme events, as well as other             the North Pacific over
present-day conditions are often outside                       anthropogenic per turbations such as              1988–2015. The upper
pre-industrial bounds. In some regions, the                    overfishing and pollution.                        panel shows the linked
changes are amplified by natural processes                                                                       increase in atmospheric
such as upwelling (where cold water that is                    There has been a consistent trend in ocean        (red points) and
rich in CO2 and nutrients rises from the deep                  acidification over time. Since records at Aloha   seawater (blue points)
                                                                                                                 CO 2 concentrations. The
toward the sea surface), resulting in conditions               station (north of Hawaii) began in the late
                                                                                                                 bottom panel shows a
outside biologically relevant thresholds.                      1980s, seawater pH has progressively fallen,      decline in seawater pH
                                                               from values above 8.10 in the early 1980s to      (black points, primary
Projections of future ocean conditions show                    between 8.04 and 8.09 in the last five years.     y-axis) and carbonate
that ocean acidification affects all areas of                                                                    ion concentration (green
the ocean, while consequences for marine                       THE CRYOSPHERE IN 2017                            points, secondary
species, ecosystems and their functioning                                                                        y-axis). Ocean chemistry
vary. Over the past 10 years, various studies                  Sea-ice extent was well below the 1981–2010       data were obtained from
                                                                                                                 the Hawaii Ocean Time-
have confirmed that ocean acidification is                     average throughout 2017 in both the Arctic and
                                                                                                                 series Data Organization
directly influencing the health of coral reefs;                Antarctic. The winter maximum of Arctic sea       & Graphical System
the success, quality and taste of aquaculture-                 ice of 14.42 million square kilometres, reached   (HOT-DOGS).
raised fish and seafood; and the survival and                  on 7 March, was the lowest winter maximum         (Source: US
calcification of several key organisms. These                  in the satellite record, 0.10  million square     National Oceanic
alterations often affect species at lower trophic              kilometres below the previous record low set      and Atmospheric
levels and have cascading effects within the                   in 2015. However, melting during the spring       Administration (NOAA),
                                                               and summer was slower than in some recent         Jewett and Romanou,
                                                                                                                 2017)
                                                               years. The summer minimum of 4.64 million
 	 Watkins, M. et al., 2015: Improved methods for observing
14

   Earth's time variable mass distribution with GRACE using    square kilometres on 13 September was the
   spherical cap mascons. Journal of Geophysical Research,     eighth-lowest on record, 1.25 million square
   Solid Earth, 120:2648–2671, doi:​10​.1002/​2 014JB011547.   kilometres above the 2012 record low. A slow



                                                                                                                            13


                                                                                                                       P00000084598
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              25                                                                                    25


              15                                                                                    15


               5                                                                                     5




                                                                                       Percentage
                                                                                                    –5
 Percentage




              –5


              –15                                                                                   –15


              –25                                                                                   –25


              –35                                                                                   –35


              –45                                                                                   –45
                    1981 1984 1987 1990 1993 1996 1999 2002 2005 2008 2011 2014 2017                      1981 1984 1987 1990 1993 1996 1999 2002 2005 2008 2011 2014 2017
                                                Year                                                                                   Year




                                      freeze-up during the autumn saw Arctic sea-                                The glacial mass balance change has been
Figure 10. (left)                     ice extent once again at near record low levels                            negative in every year since 1988.
September sea-ice                     for the time of year by the end of December.
extent for the Arctic,                                                                                           The northern hemisphere snow cover extent
and (right) September                 Antarctic sea-ice extent was at or near record                             was near or slightly above the 1981–2010
sea-ice extent for the
                                      low levels throughout the year. The summer                                 average for most of the year, most significantly
Antarctic. Percentage
of long-term average
                                      minimum of 2.11 million square kilometres,                                 in May (9% above average, 12 th highest on
of the reference period               recorded on 3 March, was 0.18 million square                               record). May snow cover extent was the
1981–2010                             kilometres below the previous record set                                   highest since 1996, and the highest in Eurasia
(Source: prepared by                  in 1997, whilst the winter maximum of                                      since 1985, with particularly strong anomalies
WMO using data from                   18.03  million square kilometres, recorded                                 in nor th-western Russia and nor thern
the US National Snow                  on 12  October (the equal-latest maximum                                   Scandinavia, where May temperatures were
and Ice Data Center)                  date on record), was second behind 1986.                                   well below average. Summer snow cover
                                                                                                                 extent, which has been showing a strong
                                      The mass balance change (the estimated                                     downward trend, was close to the long-term
                                      change of the mass of ice from one year                                    average in 2017 for the first time in more than
                                      to the next) of the Greenland ice sheet in                                 a decade, giving June, July and August the
                                      the year from September 2016 to August                                     highest values since 2004, 2006 and 1998
                                      2017 was well above the 1981–2010 average,                                 respectively. Similar to most recent years,
                                      due mainly to unusually heavy precipitation                                autumn snow cover extent was above average,
                                      during autumn 2016. The mass balance                                       although not to the same extent as in 2016,
                                      change from September to December 2017                                     with October and November both ranking 9 th
                                      was close to average. Although the overall                                 highest. Snow cover extent returned to slightly
                                      ice mass increased, this was only a small                                  below average in December. Contrasting
                                      departure from the trend over the past two                                 precipitation anomalies during the 2016/2017
                                      decades, with the Greenland ice sheet having                               winter saw alpine snow cover well below
                                      lost approximately 3 600 billion tons of ice                               average in most of the European Alps, but at
                                      mass since 2002.                                                           or near record high levels in Corsica.

                                      Mass balance change data for 2017 for                                      In the southern hemisphere, an extensive
                                      glaciers outside major continental ice sheets                              snow event in southern South America from
                                      are not yet available. For 2016, mass balance                              14  to  21  June saw continental snow cover
                                      change, averaged across a set of 26 reference                              extent reach 750 000 square kilometres, the
                                      glaciers with data available at the time of                                highest since satellite monitoring began in
                                      writing, was approximately −900 mm water                                   2005, whilst the alpine snowpack at high
                                      equivalent. This was a smaller decrease than                               elevations in south-eastern Australia was
                                      in 2015, but close to the 2011–2016 mean.                                  the deepest since 2000.



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                                                                                                                                                                P00000084599
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                                                                                    3
MAJOR DRIVERS OF INTERANNUAL
CLIMATE VARIABILITY IN 2017                                                         2

There are several large-scale modes of




                                                       Oceanic Niño Index (ONI)
                                                                                    1
variability in the world’s climate that influence
conditions over large parts of the world on
                                                                                    0
seasonal to interannual timescales. The El
Niño/Southern Oscillation (ENSO) is probably
                                                                                   –1
the best-known of the major drivers of
interannual climate variability. The equatorial
Indian Ocean is also subject to fluctuations                                       –2

in sea-surface temperatures, although on a
less regular basis than the Pacific. The Indian                                    –3
                                                                                    1950        1960     1970      1980          1990    2000       2010     2020
Ocean Dipole (IOD) describes a mode of                                                                                    Year
variability that affects the western and eastern                                   1.5

parts of the ocean. The Arctic Oscillation (AO)
and North Atlantic Oscillation (NAO) are two                                        1

closely related modes of variability in the
                                                      Indian Ocean Dipole (IOD)




atmospheric circulation at middle and higher                                       0.5
latitudes of the northern hemisphere. In
positive mode, the subtropical high-pressure                                        0
ridge is stronger than normal, as are areas
of low pressure at higher latitudes, such as                                      –0.5
the “Icelandic” and “Aleutian” lows, resulting
in enhanced westerly circulation through                                            -1
mid-latitudes. In negative mode, the reverse
is true, with a weakened subtropical ridge,                                       –1.5
weakened higher-latitude low pressure areas                                        1 Apr 2012   14 Aug 2013     27 Dec 2014      10 May 2016    22 Sept 2017 4 Feb 2019
                                                                                                                          Date
and an anomalous easterly flow through
mid-latitudes. The Southern Annular Mode
(SAM), also known as the Antarctic Oscillation      Peru were more than 2  °C above average                                                        Figure 11. The Oceanic
(AAO), is the southern hemisphere analogue          in February and March, before declining in                                                     Niño Index (ONI) (top)
of the AO.                                          the following months. These warm coastal                                                       and Indian Ocean Dipole
                                                    temperatures were associated with significant                                                  (IOD) index (bottom).
                                                                                                                                                   (Source: prepared by
In contrast with 2016, which saw the later          flooding, particularly in Peru (something
                                                                                                                                                   WMO using data from
part of one of the strongest El Niño events         which had been largely absent during the                                                       the US National Oceanic
of the last 50 years, a neutral phase of ENSO       previous year’s El Niño), whilst there were                                                    and Atmospheric
prevailed for most of 2017. The year began          also heavy rains and flooding in California                                                    Administration (NOAA)
with conditions slightly cooler than average        to an extent which far exceeded that of the                                                    Climate Prediction
in the central and eastern equatorial Pacific,      2015/2016 El Niño.                                                                             Center (ONI) and the
consistent with the borderline cool neutral/                                                                                                       Australian Bureau of
weak La Niña conditions which had existed           The Indian Ocean Dipole was generally on                                                       Meteorology (IOD))
in the last part of 2016. These cool anomalies      the positive side of neutral for most of 2017,
had weakened by February, before becoming           although the strength of the signal varied
re-established later in 2017. By November,          considerably between different datasets (the
conditions had cooled to the point where a          strongest cool signal in the eastern Indian
weak La Niña event had been declared by             Ocean was also south of the 10°S southern
most agencies.                                      boundary of the area used to define IOD
                                                    indices). The IOD state was associated with
Whilst there was no basin-wide El Niño in           dry conditions in much of Australia between
2017, there was a sharp warming near the            May and September, and with a return to
South American coast early in the year, of a        average to above-average rains in the Horn
type more often seen during El Niño events.         of Africa late in the year after an extended
Temperatures near the coast of Ecuador and          period of drought.



                                                                                                                                                              15          15


                                                                                                                                                           P00000084600
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     90ºN                                                                                                                                         2017, although they were not as strong as
                                                                                                                                                  those that prevailed for most of 2015 and 2016.
     60ºN
                                                                                                                                                  PRECIPITATION IN 2017
     30ºN
                                                                                                                                                  There were fewer areas with large precipitation
                                                                                                                                                  anomalies in 2017 than there had been in 2015
      EQ                                                                                                                                          or 2016, as the influence of the strong El Niño
                                                                                                                                                  event of 2015/2016 ended.
     30ºS

                                                                                                                                                  The most extensive area with annual rainfall
     60ºS                                                                                                                                         above the 90 th percentile in 2017 was in
                                                                                                                                                  north-east Europe, extending from northern
     90ºS
                                                                                                                                                  European Russia as far west as northern
         180º    120ºW                  60ºW                             0                   60ºE                120ºE                 180º       Germany and southern Norway. European
                         0.1   0.2                    0.3          0.4       0.6       0.7        0.8      0.9
                                                                                                                                                  Russia had its second-wettest year on record
                                                                                                                                                  (as did Russia as a whole) and Norway its
                                                                                                                                                  sixth-wettest. Autumn was especially wet in
Figure 12. Annual total        The Arctic Oscillation and North Atlantic                                                                          the Baltic region, with Estonia and Lithuania
precipitation expressed        Oscillation were both generally positive in                                                                        both having their wettest autumn on record
as a percentile of the         their season of peak influence, January to                                                                         and Latvia its second-wettest.
1951–2010 reference            March, with index values of +0.88 and +0.74
period for areas that
                               respectively, although in both cases these                                                                         Thailand had its wettest year on record, with
would have been in the
driest 20% (brown) and
                               values were less strongly positive than in                                                                         national rainfall 27% above average. The
wettest 20% (green)            the equivalent period of 2016. These positive                                                                      south was especially wet with the east coast
of years during the            index values were associated with generally                                                                        region 56% above average. However, the high
reference period, with         above-average temperatures in the 2016/2017                                                                        rainfall was more evenly distributed through
darker shades of brown         winter in most of Europe (despite a cold                                                                           the year than it was in the previous record
and green indicating the       January) and eastern North America, and with                                                                       wet year of 2011. Even though that year’s
driest and wettest 10%,        dry winter conditions in the Mediterranean.                                                                        extreme flooding was not repeated, there
respectively
                               Arctic Oscillation index values at the start of                                                                    were significant local floods from time to time,
(Source: Global
Precipitation Climatology
                               the 2017/2018 winter were near zero.                                                                               particularly in the south of the country early
Centre, Deutscher                                                                                                                                 in the year. Rainfall above the 90 th percentile
Wetterdienst, Germany)         The Southern Annular Mode had its first period                                                                     also occurred in the Philippines, parts of
                               of sustained negative values for over two                                                                          eastern Indonesia and the interior of Western
                               years in late 2016 and early 2017, with the                                                                        Australia.
                               three-month SAM index for November 2016
                               to January 2017 reaching −1.07, the strongest                                                                      Other areas with annual rainfall above the 90th
                               negative value since late 2013. Positive values                                                                    percentile included parts of inland southern
                               then resumed for most of the remainder of                                                                          Africa, scattered areas in the southern half
                                                                                                                                                  of South America east of the Andes, and
                                                                                                                                                  around the Great Lakes in North America.
                                              140.0
                                              135.0
                                                                                                                                                  Michigan had its wettest year on record, with
Figure 13. Annual                             130.0                                                                                               very wet conditions also in the Great Lakes
precipitation for Norway                      125.0                                                                                               and St Lawrence region of Canada. Rainfall
in percentage of normal                       120.0
                                                                                                                                                  significantly above average also affected many
                                              115.0
(Source: Norwegian                                                                                                                                parts of Central America and the Caribbean
                               Deviation, %




                                              110.0
Meteorological Institute                      105.0
                                                                                                                                                  islands, with the largest anomalies in those
(Met.no))                                     100.0
                                              95.0                                                                                                parts of the Eastern Caribbean that were most
                                              90.0                                                                                                affected by hurricanes.
                                              85.0
                                              80.0
                                              75.0                                                                                                Dry conditions with rainfall below the 10th
                                              70.0                                                                                                percentile were most widespread around the
                                              65.0
                                                 1900       1910    1920     1930   1940   1950   1960   1970    1980   1990   2000   2010 2017   Mediterranean, extending east as far as the
                                                                                           Year
                                                                                                                                                  Islamic Republic of Iran. They were especially



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                                                                                                                                                                                        P00000084601
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prominent in southern Europe, from Italy
westwards to Portugal, in north-western                                                                                    120




                                                                                      Number of global tropical cyclones
Africa and in south-west Asia, from eastern
Turkey and the western Islamic Republic of                                                                                 100
Iran south to Israel. A small but significant
area with rainfall below the 10 th percentile                                                                              80
affected the far south-west of South Africa.
Other major areas with rainfall below the                                                                                  60
10th percentile in 2017 included parts of
central India and eastern Brazil, and the North
                                                                                                                           40
American Prairies on both sides of the United                                                                               1980   1985     1990   1995   2000    2005   2010    2015       2020
States-Canada border.                                                                                                                                      Year


Monsoon season rainfall was generally fairly
close to average in the Indian subcontinent                                      term average. A very active North Atlantic                                              Figure 14. Total
(where all-India rainfall for June to September                                  season was offset by near- or below-average                                             number of tropical
was 5% below average), although with local                                       seasons elsewhere. The North Atlantic had                                               cyclones globally, by
variations, including significantly above-                                       17 named storms, and the seventh-highest                                                year
                                                                                                                                                                         (Source: WMO)
average totals in much of Bangladesh and                                         value of Accumulated Cyclone Energy (ACE)
parts of far eastern India. Monsoon season                                       on record, including a record monthly value
rainfall was also fairly close to average in the                                 for September. The Northeast and Northwest
Sahel of west and central Africa, although                                       Pacific basins both had a near-average number
flooding in late August from local heavy rains                                   of cyclones but relatively few severe cyclones,
caused significant losses in Niger. Rainfall in                                  leading to below-average ACE values in both
2017 was also close to average over most of                                      basins.
the more heavily populated parts of western
and central Indonesia, in Singapore, in most                                     The 2016/2017 southern hemisphere season
of Japan (where an exceptionally wet October                                     was b elow average on all measures,
offset a dry first half of the year) and in north-                               particularly in the first half of the season.
western South America.                                                           Whilst the Australian region had a near-
                                                                                 average number of cyclones, the south-west
EXTREME EVENTS                                                                   Indian Ocean and south-west Pacific (east
                                                                                 of 160°E) were both well below average.
Ex treme events have many significant                                            The total hemispheric ACE was the lowest
impacts in terms of casualties, other health                                     recorded since regular satellite coverage
effects, economic losses and population                                          began in 1970.
displacement.15 They are also a major driver
of interannual variability in agricultural                                       Three exceptionally destructive hurricanes
production.                                                                      occurred in rapid succession in the North
                                                                                 Atlantic in late August and September. Harvey
A DESTRUCTIVE NORTH ATLANTIC                                                     made landfall in south Texas as a category
HURRICANE SEASON, BUT NEAR                                                       4 system, then remained near-stationary in
AVERAGE GLOBALLY                                                                 the Houston area for several days, producing
                                                                                 exceptionally prolonged extreme rainfall and
There were 84 tropical cyclones around                                           severe flooding. An exceptional 1 539 mm of
the globe in 2017,16 very close to the long-                                     rain fell from 25 August to 1 September at a
                                                                                 gauge near Nederland, Texas — the largest
                                                                                 amount of rain ever recorded in a tropical
15
     	 World Bank, 2017: A 360 degree look at Dominica post                      cyclone in the United States — whilst the
       Hurricane Maria, 28 November, www​.worldbank ​.org/​en/​                  storm total rainfall was in the 900–1 200 mm
       news/​feature/​2 017/​11/​2 8/​a​- 360 ​- degree​- look​-at​- dominica​
       -post​- hurricane​- maria
                                                                                 range in much of metropolitan Houston.17 One
16
     	 Consistent with standard practice, the 2017 value quoted
       here is the sum of the values from January to December                     	 National Hurricane Center, 2018: National Hurricane Center
                                                                                 17

       2017 for northern hemisphere basins, and July 2016–June                      Tropical Cyclone Report –Hurricane Harvey, https://​w ww​
       2017 for southern hemisphere basins.                                         .nhc​.noaa​.gov/​data/​tcr/​A L092017​_ Harvey​.pdf.




                                                                                                                                                                                     17


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                                                                                                                       Longview
                                                                                                                                                                  southern Bahamas. Irma went on to track
                                                                                                  Tyler
                                                                                                                                          L o u i s iana          along the northern coast of Cuba, leading
                                                                                                                                                                  to extensive damage there, before making
                                 HOUSTON
                                                                                                      Nacogdoches                                                 landfall in south-west Florida at category 4
                                 Waco
                                                                                                                                                                  intensity.
                                                                                                                      Lufkin

                       Killeen                                                                                                                                    Hurricane Maria made initial landfall on
                                               College
                                                                                         Huntsville
                                                                                                                                                                  Dominica at near-peak intensity, making it
                                               Station
                                                                                                                                                                  the first category  5 hurricane to strike the
            T e x as                                                                        Conroe                                                                island, and leading to major destruction there.
                  ^Austin
                  _                                                                                                      Beaumont                                 The World Bank estimates Dominica’s total
                                                                                                                                                                  damages and losses from the hurricane at
                                                                              Houston
                                                                                                                                                 Port Arthur      US$ 1.3 billion or 224% of its Gross Domestic
                                                                                                                                                                  Product (GDP). The storm weakened slightly
                                                                                                                                                                  but was still a category  4 hurricane when
                                                                                                                    Galveston
                                                                                                                                                                  it reached Puer to Rico. Maria triggered
                                                                                                                                                                  widespread and severe damage on Puerto
                                       Victoria
                                                                                                                                                                  Rico from wind, flooding and landslides.
                                                                                                                                                                  Power was lost to the entire island, and
                  Corpus
                  Christi
                                 ÏÐ
                                                                                                                                Track with Storm Type
                                                                                                                                    * National Hurricane Center
                                                                                                                                       Preliminary Best Track
                                                                                                                                                                  had only been restored to just over half the
                                                                                                                                                                  population three months after the hurricane,
             Kingsville                                       Landfall:
                                                                                                                                        Hurricane
                                                                                                                                        Tropical Storm
                                                                                                                                                                  whilst water supplies and communications
                                                              26 August 2017 around 0300 UTC                                    0    12.5 25             50
                                                                                                                                                          Miles
                                                                                                                                                                  were also severely affected.

                               Hurricane Harvey, 25–31 August 2017                                                                                                All three of these hurricanes were assessed
               Annual Exceedance Probabilities (AEPs) for the Worst Case 4-day Rainfall
                                                                                                                                                                  by the National Centers for Environmental
                                           Hydrometeorological Design Studies Center                                                             > 1/10
                                                                                                                                                                  Information (NCEI) as ranking in the top five
                                                                                                                                    ¯
                                       Office of Water Prediction, National Weather Service                                                      1/50 - 1/10
                                        National Oceanic and Atmospheric Administration
                                                                                                                                                                  for hurricane-related economic losses in
                                                                                                                                                 1/100 - 1/50
                                                         http://www.nws.noaa.gov/ohd/hdsc/                                                       1/200 - 1/100

                                                                                                                                                                  the United States (alongside Katrina in 2005
                                                                                                                                                 1/500 - 1/200
                                                                      Created 16 November 2017                                                   1/1000 - 1/500
                                       Rainfall frequency estimates are from preliminary NOAA Atlas 14, Volume 11, Version 1.

                                                                                                                                                                  and Sandy in 2012), with estimated costs of
                                                           Rainfall values come from 6-hour Stage IV data.                                       < 1/1000


                                                                                                                                                                  US$ 125 billion for Harvey, US$ 90 billion for
Figure 15. Annual                study18 found that the maximum three-day                                                                                         Maria and US$ 50 billion for Irma.19 Irma and
exceedance                       rainfalls during Hurricane Harvey were made                                                                                      Maria also led to substantial losses outside
probabilities for the            three times more likely by anthropogenic                                                                                         the United States. At least 251 deaths were
peak 4-day rainfall              climate change.                                                                                                                  attributed to the three hurricanes in the United
during Hurricane
                                                                                                                                                                  States (including Puerto Rico and the US
Harvey, showing that
much of the area from
                                 Harvey was followed by Hurricane Irma, in early                                                                                  Virgin Islands) and 73 elsewhere. 20
east Houston to the              September, and by Maria in mid-September.
Texas-Louisiana border           Both hurricanes peaked at category 5 intensity,                                                                                  Other significant hurricanes during the 2017
had 4-day rainfalls with         with Irma maintaining that intensity for                                                                                         North Atlantic season, both in October,
an annual exceedance             60 hours, which is longer than in any North                                                                                      were Hurricane Nate, which was associated
probability less than            Atlantic hurricane in the satellite era. Irma’s                                                                                  with significant flooding in Central America
1 in 1000. (Source:              initial landfall, at near-peak intensity, led to
US National Oceanic
                                 extreme damage across numerous Caribbean
and Atmospheric                                                                                                                                                    	 The total losses reported by NCEI for these three hurricanes
                                                                                                                                                                  19

Administration (NOAA)
                                 islands, most significantly on Barbuda, which                                                                                       (central estimate US$265 billion) are higher than the assess-
                                 experienced near-total destruction, with only                                                                                       ment by Munich Re (US$215 billion, including losses outside
                                 a few inhabitants having returned as of early                                                                                       the United States), but this difference is within the margin
                                 2018. Other islands to experience major                                                                                             of uncertainty. It may also reflect differences in accounting
                                 damage included Saint Martin/Sint Maarten,                                                                                          for indirect economic losses.
                                 Anguilla, St Kitts and Nevis, the Turks and                                                                                      20
                                                                                                                                                                       	 Unless otherwise stated, casualty and economic loss data
                                 Caicos Islands, the Virgin Islands and the                                                                                              reported in this statement are sourced from the EM-DAT data-
                                                                                                                                                                         base, Centre for Research on the Epidemiology of Disasters,
                                                                                                                                                                         Université catholique de Louvain, Belgium, www.emdat.be.
                                 18
                                      	 Van Oldenborgh, G.J. et al., 2017: Attribution of extreme                                                                        For the 2017 North Atlantic hurricane season, casualties and
                                        rainfall from Hurricane Harvey, August 2017. Environmental                                                                       economic losses for the United States and its territories
                                        Research Letters, 12, 124009.                                                                                                    were as reported by NCEI.




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     NORTH ATLANTIC HURRICANE SEASON 2017: INDUCED LOSS AND DAMAGE

     When Hurricane Irma made landfall, it hit Barbuda                        society: the losses incurred by the tourist sector
     with maximum sustained winds of 295 km/h, record                         alone are estimated at 19%, and 38% of housing was
     rainfall and a storm surge of nearly three metres.                       damaged. 2 Maria caused the longest blackout in the
     Deaths were limited to one but an estimated 90%                          history of the United States in Puerto Rico, which
     of properties were damaged. This prompted the                            affected 35% of the island’s population for at least
     Prime Minister to order the complete evacuation                          three months – continued problems following the
     of all residents as Hurricane Jose approached. It                        hurricane may see the privatization of the Puerto Rico
     was three weeks before residents were permitted                          Electric Power Authority (PREPA), the largest publicly
     to return, and three months later only an estimated                      owned corporation in the United States.3 The disaster
     20% of the population had returned. The long-term                        prompted the Federal Emergency Management
     impact remains to be seen, with damage and loss                          Agency to approve US$ 1.02 billion of assistance to
     estimated at US$  155 million, and recovery and                          the Individuals and Households Program and obligate
     reconstruction needs estimated at US$ 222.2 million1                     US$ 555 million in Public Assistance grants.4
     – together accounting for approximately 9% of the
     gross domestic product of Antigua and Barbuda.

     Hurricane Maria proved still more devastating for
     Dominica. Total damages and losses were estimated
     at US$  1.3  billion or 224% of GDP, with significant
     par ts of the island’s rainforest damaged and
                                                                              	 Government of the Commonwealth of Dominica, 2017: Post Disaster
                                                                              2
     destroyed. This has implications for the whole of                          Needs Assessment – Hurricane Maria, September 18, 2017, https://
                                                                                reliefweb.int/sites/reliefweb.int/files/resources/dominica-pdna-maria.
                                                                                pdf
     	 Post-Disaster Needs Assessment (PDNA) carried out with the support
     1

       of the European Union (EU), the United Nations Development Programme   	 Attributed to the Governor of Puerto Rico.
                                                                              3


       (UNDP), the World Bank and the Caribbean Disaster Emergency            	 Government of the United States of America, Department of Homeland
                                                                              4

       Management Agency (CDEMA).                                               Security, Federal Emergency Management Agency.



(especially Costa Rica and Nicaragua),                          Two separate events in Vietnam, an unnamed
and Hurricane Ophelia, which became the                         tropical depression in October and Typhoon
easternmost hurricane on record to reach                        Damrey (Ramil) in early November, were
major (category 3) intensity, before crossing                   both associated with over 100 deaths from
Ireland as a transitioning ex tratropical                       flooding. The heaviest economic losses were
storm and leading to widespread damage.                         from Typhoon Hato (Isang) in August, which
Ophelia’s broader wind field also contributed                   hit Hong Kong, Macau and neighbouring areas
to destructive wildfires in Portugal.                           of China on 23  August, with an estimated
                                                                US$ 6 billion in losses and at least 32 deaths.22
Whilst the number of severe cyclones in                         It was the strongest impact in Macau for more
the Northwest Pacific in 2017 was low, a                        than 50 years.
number of systems still brought widespread
destruction and heavy casualties, mostly                        The two most significant cyclones of the
from flooding. The largest loss of life from a                  year in the North Indian Ocean were Cyclone
tropical cyclone in 2017 was in late December,                  Mora in late May, and Cyclone Ockhi in early
when Typhoon Tembin (Vinta) crossed the                         December, both of which caused substantial
island of Mindanao with a peak 10-minute                        casualties. The major impact of both cyclones
wind speed of 36 m s −1 (70 kt), resulting in                   was severe flooding and landslides associated
at least 129 deaths, 21 mostly from flooding.                   with their respective precursor lows. Sri Lanka

 	 Philippines Office of Civil Defense, Situation Report 25,
21
                                                                 	 Reports from the China Meteorological Administration and
                                                                22

   7 February 2018.                                                the government of the Macao SAR.




                                                                                                                                            19


                                                                                                                                       P00000084604
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                            ST THOMAS, US VIRGIN ISLANDS
        Chris B. Pye




                            Hurricane Irma destruction



                       was badly affected by both cyclones, whilst                             on Madagascar, 24 with at least 81 associated
                       Ockhi also had major impacts in southern                                deaths reported and extensive damage to
                       India, including a great number of fishermen                            houses, infrastructure and crops. Agricultural
                       going missing at sea. The largest impacts                               losses were estimated by the World Bank at
                       from Northeast Pacific systems in 2017 were                             US$ 207 million, mostly from the destruction
                       from flooding, with Tropical Storm Lidia                                of vanilla plantations.
                       leading to significant flooding in Mexico in
                       August, and Tropical Storm Selma (the first                             In the Southwest Pacific, Cyclone Debbie
                       recorded tropical cyclone to make landfall                              hit the east coast of Australia in late March,
                       in El Salvador) doing likewise in El Salvador,                          making landfall in the Whitsunday region
                       Nicaragua and Honduras.                                                 with maximum 10-minute winds of 43 m s −1
                                                                                               (80 kt) after earlier peaking at 49 m s−1 (95 kt),
                       Although the number of tropical cyclones                                leading to extensive wind and flood damage.
                       in the south-west Indian Ocean was below                                The system then tracked south and south-east
                       average, there were two which had major                                 as a tropical low, with widespread major
                       impacts. Dineo, with maximum 10-minute                                  flooding, especially on the east coast near the
                       winds of 39  m  s −1 (75  kt), was the first to                         Queensland-New South Wales border. The
                       make landfall in Mozambique since 2008                                  remnant system then went on to be largely
                       when it hit in early February. In addition to                           responsible for major flooding in much of the
                       its effects in Mozambique, the subsequent                               North Island of New Zealand in early April.
                       overland low resulted in severe flooding in                             Insured losses for Debbie in Australia were
                       Zimbabwe and northern South Africa, and                                 approximately US$ 1.3 billion, 25 the second-
                       was the main contributor to the 246 flood-                              highest on record for an Australian tropical
                       related deaths reported in Zimbabwe during                              cyclone. Cyclone Donna was the strongest
                       the 2016/2017 rainy season.23 Enawo, in early                           May cyclone on record in the Southwest
                       March, hit the east coast of Madagascar at                              Pacific region, with peak 10-minute winds
                       near its peak intensity (10-minute winds of
                       57 m s −1 (110 kt)). Enawo had major impacts                            24
                                                                                                    	 World Bank, 2017: Estimation of Economic Losses from Tropi-
                                                                                                      cal Cyclone Enawo, https://​reliefweb​.int/​sites/​reliefweb​.int/​
                        	 United Nations Office for the Coordination of Humanitarian
                       23                                                                             files/​resources/​MG​-Report​-on​-the​-Estimation​-of​-Economic​
                          Affairs (OCHA), 2017: Zimbabwe Flood Snapshot, https://​                    -Losses​.pdf.
                          reliefweb​.int/​sites/​reliefweb​.int/​files/​resources/​zimbabwe​   25
                                                                                                    	 Insurance Council of Australia, media release 6 November
                          _flood​_ snapshot​_ 3march2017​.pdf.                                        2017.




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reaching 57 m s−1 (111 kt) on 8 May, with some     occurred. 26 Exceptionally heavy rain was a
damage reported, especially in Vanuatu.            major contributor to this disaster; Freetown
                                                   received 1  459.2  mm in the period from 1
HIGH WINDS AND SEVERE LOCAL                        to 14 August, about four times the average
STORMS                                             rainfall for this period. Another major landslide
                                                   associated with heavy rainfall occurred in
There were a number of destructive severe          Mocoa, in southern Colombia, on 1  April,
thunderstorms in 2017, with central and            with at least 273 deaths reported.
eastern Europe particularly affected during the
spring and early summer. Winds, exceeding          Many parts of the Indian subcontinent were
100 km/h during a thunderstorm resulted in         affected by flooding during the monsoon
widespread damage and at least 11 deaths           season between June and September, despite
in Moscow on 29  May. Other noteworthy             overall seasonal rainfall being near average
storms included a severe hailstorm and             over the region. The most serious flooding
tornado that affected the southern suburbs         occurred in mid-August, after extremely
of Vienna on 10 July, a 165 km/h wind gust         heavy rainfall over a region centred on eastern
at Innsbruck on 30 July, a hailstorm with          Nepal, northern Bangladesh and adjacent
hailstones up to 9 cm in diameter in Istanbul      areas of northern and north-eastern India.
on 27 July, and widespread thunderstorms           Mawsynram (India), near the Bangladesh
that left 50 000 households without power          border, received 1 479 mm in the four days
in southern Finland on 12  August. Severe          from 9 to 12 August. Daily totals in excess
flash flooding affected parts of the Croatian      of 400  mm also occurred near the India-
coast on 11 September, with 283 mm of rain         Nepal border, and the Rangpur region of
recorded in 12 hours at Zadar.                     northern Bangladesh received 360  mm,
                                                   approximately the average monthly total, on
For the first time since 2011, the United States   11–12 August. Across the period as a whole,
had an above-average tornado season, with          more than 1  200  deaths were reported in
a preliminary annual total of 1 406 tornadoes,     India, Bangladesh and Nepal, 27 whilst more
12% above the 1991–2010 average. However,          than 40 million people were affected. The
the number of fatalities during the season         World Health Organization (WHO) noted that
(34) was below the long-term average. The          in Bangladesh alone more than 13 000 cases
most destructive storm of the season was           of waterborne diseases and respiratory
a hailstorm that hit Denver on 8  May, with        infections were reported over three weeks
hailstones exceeding 5  cm in diameter.            in August, 28 whilst extensive damage was
Insured losses from this event exceeded            reported to public health facilities in Nepal.29
US$ 2.2 billion.
                                                   Earlier in the season, 292 deaths were reported
A severe windstorm (known locally as Zeus)         in Sri Lanka in late May, principally in southern
affected France on 6–7  March. Peak gusts
reached 193  km/h at Camaret-sur-Mer in
Brittany, and the storm was rated by Météo-         	 International Organization for Migration (IOM), 2017 : Sierra
                                                   26

                                                      Leone Flood Response. Situation Report, 28 August 2017,
France as the most significant windstorm in
                                                      https://​r eliefweb​. int/​sites/​r eliefweb​. int/​fi les/​r esources/​
France since 2010. Later in the year, a storm in      SL​% 20Floods​% 20Sitrep​% 201​.pdf.
late October produced wind gusts exceeding         27
                                                        	 World Meteorological Organization, 2017: Rainfall extremes
170 km/h at high elevations and 140 km/h in               cause widespread socio-economic impacts, ht tps: //​
the lowlands in Austria and Czechia, with                 public​.wmo​. int/​en/​media/​news/​r ainfall​- extremes​- cause​
11 deaths reported in total.                              -widespread​-socio​- economic​- impacts.
                                                   28
                                                        	 International Federation of Red Cross and Red Crescent
FLOODING (NON-TROPICAL CYCLONE)                           Societies (IFRC), 2017: South Asia flood crisis: Disease
                                                          outbreaks, funding shortages compound suffering of flood
AND ASSOCIATED PHENOMENA
                                                          survivors, https://​media​. ifrc​.org/​i frc/​press​-release/​south​
                                                          -asia​- flood​- crisis​- disease​- outbreaks​-funding​- shortages​
One of the most significant weather-related               -compound​-suffering​- flood​-survivors/​.
disasters of 2017, in terms of casualties,         29
                                                        	 World Health Organization (WHO), 2017: Nepal. Situation
was a landslide in Freetown, Sierra Leone,                Report #5, https://​r eliefweb​. int/​sites/​r eliefweb​. int/​fi les/​
on 14 August, in which at least 500 deaths                resources/​w ho​_ sitrep​- 06sept2017​.pdf.




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                                                                                                              affects Peru during the late phase of El Niño
                       900
                                                                                    y = –1.1842x + 564.74     events. Whilst there was no Pacific-wide El
                       800                                                               R2 = 0.0374          Niño during 2017, sea-surface temperatures
                       700                                                                                    near the Peruvian coast in March were 2 °C
                                                                                                              or more above average, values which would
Annual rainfall (mm)




                       600

                       500
                                                                                                              be more typical of an El Niño year than of
                                                                                                              a neutral year such as 2017. Major flooding
                       400
                                                                                                              occurred mid-year in parts of southern China,
                       300
                                                                                                              especially within the Yangtze River basin. The
                       200
                                                                                                              heaviest rain fell in the provinces of Hunan,
                       100                                                                                    Jiangxi, Guizhou and Guangxi. Peak totals
                        0                                                                                     during the period from 29 June to 2  July

                             2003
                             2005
                             2007
                             2009
                             2001
                             1951
                             1953
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                             1991
                             1993
                             1995
                             1997
                             1999




                             2015
                             2013

                             2017
                                                                                                              were in excess of 250 mm. Fifty-six deaths



                             2011
                                                             Year                                             were reported and economic losses were
                                                                                                              estimated at more than US$ 5 billion. 34

Figure 16. Annual                      and western parts of the country, due to                               DROUGHT
rainfall for Cape Town,                heavy rains from the precursor low to Cyclone
South Africa, 1951–2017.               Mora. Ratnapura received 384 mm of rain in                             The drought that affected significant parts of
(Source: South African                 24 hours on 25/26 May. Some 650 000 people                             east Africa during 2016 continued into 2017.
Weather Service)
                                       were affected in some way by the floods,                               In the March to May rainy season, seasonal
                                       but the rains did little to alleviate significant                      rainfall was at least 20% below average
                                       drought in northern and eastern parts of Sri                           over most of Somalia, Kenya and southern
                                       Lanka. 30 Cyclone Mora also had significant                            Ethiopia, and more than 50% below average
                                       impacts in Bangladesh and Myanmar.31 Heavy                             over most of the northern half of Kenya and
                                       rains flooded thousands of hectares of crop                            parts of Somalia. There was some easing
                                       and damaged poultry sheds, fishing nets                                of conditions late in the year, with near- to
                                       and boats, severely eroding the livelihoods                            above-average rainfall over most of the region
                                       of communities that depend on agriculture                              in the October–December period. Reports for
                                       and fisheries in the affected rural districts.                         Somalia indicated that 6.7 million people were
                                                                                                              experiencing food insecurity as of October,
                                       Flooding affected many parts of Peru in                                this declined to 5.4  million by the end of
                                       March, af ter sustained heav y rains. At                               December as crop and pasture conditions
                                       least 75  deaths 32 were reported, and over                            improved. 35
                                       625 000 people were affected, including more
                                       than 70 000 who lost their homes. The Food                             Drought worsened significantly during 2017 in
                                       and Agriculture Organization of the United                             the Cape Province of South Africa. Following
                                       Nations reported that there were significant                           below-average rainfall in 2015 and 2016, Cape
                                       crop production losses,33 particularly maize, in                       Town had its driest year on record in 2017 with
                                       the main producing regions of Lambayeque,                              a total of 285 mm (47% below the 1981–2010
                                       Piura and Ica. Flooding of this type typically                         average). The three-year period 2015−2017
                                                                                                              was also the driest on record (36% below
                                       30
                                            	 Food and Agriculture Organization of the United Nations (FAO)   average). The dry conditions led to local water
                                              and World Food Programme (WFP), 2017: Special Report.           supplies becoming severely depleted, with no
                                              FAO/WFP Crop and Food Security Assessment Mission to            significant recovery as of early 2018. However,
                                              Sri Lanka, http://​w ww​.fao​.org/ ​3 /​a‑i7450e​.pdf.          generally average to above-average rainfall
                                        	 International Federation of Red Cross and Red Crescent
                                       31
                                                                                                              further north in southern Africa during the
                                          Societies (IFRC), 2017: Emergency appeal revision. Ban-             2016/2017 rainy season led to an improvement
                                          gladesh: Cyclone Mora, http://​reliefweb​.int/​sites/​reliefweb​
                                          .int/ ​files/​resources/ ​MDRBD019 ​_ RevEA ​.pdf.
                                       32
                                            	 From information supplied by the United Nations Office for      34
                                                                                                                   	 From information supplied by the China Meteorological
                                              Disaster Risk Reduction (UNISDR).                                      Administration.
                                       33
                                            	 Food and Agriculture Organization of the United Nations         35
                                                                                                                   	 Food and Agriculture Organization of the United Nations
                                              (FAO), 2017: GIEWS – Global Information and Early Warning              (FAO), 2018: FSNAU-FEWS NET Technical Release, 29
                                              System. Country Brief: Peru, http://​w ww​.fao​.org/​giews/​           January 2018, http://​w ww​.fsnau​.org/​in​-focus/​f snau​-fews​
                                              countrybrief/​country​. jsp​?code​= ​P ER.                             -net​-technical​-release​-january​-29​-2018.




                             22


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in conditions there, with the total number of                       Although rainfall deficit was not particularly
people experiencing food insecurity declining                       extreme during 2017, near-average to below-
from 40 million at the peak of the 2014–2016                        average rainfall resulted in a continuation of
drought to 26 million in late 2017. 36                              multi-year drought in many parts of Brazil
                                                                    north of 20°S, and in central Chile (where
Many parts of the Mediterranean region                              2017 was the wettest year since 2008, but
experienced significant drought in 2017, as                         still drier than the long-term average). In the
did parts of central Europe. In the first part                      Asia-Pacific region, abnormally dry conditions
of 2017, the most severe anomalies were in                          were reported in the Korean Peninsula in
Italy, which had its driest January to August                       the first half of 2017, whilst New Caledonia
on record (and went on to have its driest                           experienced significant drought, especially
year, with annual rainfall 26% below the                            later in the year.
1961–1990 average). Further north, Bratislava
(Slovakia) had its driest December to August                        HEATWAVES, A REGULAR FEATURE
on record and southern Moravia (Czechia) its                        OF 2017
second-driest January to August. Later in
the year the focus of the dry conditions was                        There were numerous significant heatwaves
on south-west Europe. Spain had its driest                          around the world during 2017, in both the
autumn on record, the Provence-Haute Alpes-                         southern and northern hemisphere summers.
Côte d’Azur region in south-east France had
its driest May to November, whilst Portugal                         Southern South America experienced
had its driest April to December and its third-                     extreme heat on several occasions during
driest year (its four driest having all occurred                    the 2016/2017 summer. The heat peaked
since 2004). Autumn was also very dry in                            in late January, when numerous Chilean
Morocco. The eastern Mediterranean was                              stations had their hottest days on record,
also badly affected by drought, including                           including Santiago (37.4  °C) and Curico
the eastern half of Turkey, Cyprus and most                         (37.3  °C) on the 25 th, and Chillan (41.5  °C)
of Israel. The coastal plain of Israel had its                      and Concepcion (34.1 °C) on the 26th. The heat
driest year on record.                                              extended eastwards into Argentine Patagonia
                                                                    where Puerto Madryn reached 43.4  °C on
Drought also affected a region of central North                     27  January, the highest temperature ever
America on both sides of the United States-                         recorded so far south. It was also a notably
Canada border. Particularly affected were                           hot summer in much of eastern Australia,
the states of North Dakota and Montana, and                         where Moree had 54  consecutive days of
the Prairie provinces of Canada, with areas                         35  °C or above from 28  December 2016 to
of severe drought identified on both sides                          19 February 2017, the longest such sequence
of the border. 37 After a period of prolonged                       on record in New South Wales. Numerous
drought, the 2016/2017 winter rainfall season                       locations, including Moree (47.3 °C), Dubbo
brought heavy rains to much of California,                          (46.1 °C), Scone (46.5 °C), Bathurst (41.5 °C)
and the Sierra Nevada snowpack was 66%                              and Williamtown (45.5 °C) had their highest
above average, the heaviest since 1998.                             recorded temperature on 11–12 February.
Large-scale evacuations were required in
the state’s north in February because of the                        Extreme heat affected south-west Asia at the
risk of failure of the Oroville Dam. However,                       end of May. The temperature at Turbat, in the
dry conditions resumed in the second half                           far south-west of Pakistan, reached 54.0 °C
of the year, contributing to numerous major                         on 28  May, a national record for Pakistan
wildfires.                                                          and (if confirmed)38 an equal record for Asia.
                                                                    During this event, sites in the Islamic Republic
                                                                    of Iran, Oman and the United Arab Emirates
                                                                    also exceeded 50 °C.
36
     	 World Food Programme (WFP), 2018: Poor Rains and Crop
       Infestation Threaten Deeper Hunger Across Southern Africa.
       Media release, 9 February 2018.                              38
                                                                         	 This observation, and another of 54.0  °C at Mitribah
37
     	 National Oceanic and Atmospheric Administration (NOAA),             (Kuwait), are currently being reviewed by a WMO evaluation
       2017: North American Drought Monitor, December 2017.                committee.




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                 SNOW IN THE ALGERIAN SAHARA (AIN SEFRA REGION)
        NASA




               There were numerous heatwaves during             January was a cold month over much of
               the European summer, particularly in the         central and south-east Europe. Several
               Mediterranean region. The most significant       countries experienced their coldest January
               affected Turkey and Cyprus in late June          since 1987, with monthly mean temperatures
               and early July, the western Mediterranean        more than 5 °C below average in places. The
               (especially Spain and Morocco) in mid-July,      cold also extended to parts of northern Africa
               and Italy and the Balkans in early August.       with snowfalls in some elevated parts of the
               All-time records were set in all three events,   Algerian Sahara.
               including Antalya, Turkey (45.4 °C on 1 July);
               Cordoba (46.9 °C on 13 July), Granada (45.7 °C   A major late-season storm then affected the
               on 12 July) and Badajoz (45.4 °C on 13 July)     region on 20–21 April. Moldova was the hardest
               in Spain; and Pescara (41.0 °C on 4 August),     hit, with heavy falls of snow and freezing rain
               Campobasso (38.4 °C on 5 August) and Trieste     – exceptional for the time of year – causing
               (38.0 °C on 5 August) in Italy.                  extensive forest and agricultural damage.
                                                                Following the storm, severe late-season frosts
               The south-western United States had a very       contributed to significant agricultural losses,
               hot summer. Death Valley had the highest         estimated by Munich Re at EUR 3.3 billion, 39
               monthly mean temperature (41.9  °C) on           across many countries, including Switzerland,
               record for an American station in July. Later    Austria, Ukraine, Romania, and Slovenia. The
               in the season, record-high temperatures          losses were exacerbated in many areas by
               occurred in coastal California in early          unusually early development of crops due
               September, including San Francisco (41.1 °C      to an unusually warm March.
               on 1 September). Eastern China was another
               area to experience extreme summer heat, with     Extreme cold affected parts of Argentina in
               records set at Shanghai (40.9 °C on 21 July)     July. Bariloche fell to −25.4  °C on 16  July,
               and at the Hong Kong Observatory (36.6 °C        4.3  °C below its previous record. Very low
               on 22 August, associated with offshore flow      overnight temperatures also occurred in parts
               during Typhoon Hato).                            of south-eastern Australia in the first few
                                                                days of July, with record lows set at locations
               SIGNIFICANT COLD PERIODS IN 2017                 including Sale, Deniliquin and West Wyalong.

               Whilst 2017 saw above-average annual mean
                                                                 	 Munich Re, 2018: Spring frost losses and climate change –
                                                                39
               temperatures over almost all inhabited land         not a contradiction in terms, 29 January 2018, https://​w ww​
               areas, there were still some noteworthy cold        .munichre.​ com/ ​topics​-online/​en/ ​2 018/ ​01/​spring​-frost​?ref​=​
               events during the year.                             social​&​ref​= ​F acebook​&​t id​= ​NatCat2017​% 20Review.




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                                                                                                                            P00000084609
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                                                                                                                Figure 17. Temperature
                                                                                                        17      anomalies for the
                                                                                                        13      period 26 December
                                                                                                        10      2017–5 January 2018
                                                                                                        7       (relative to 1981–2010)
                                                                                                        3       showing the intense cold
                                                                                                                wave in eastern North
                                                                                                        0 °C
                                                                                                                America.
                                                                                                       –3
                                                                                                                (Source: European
                                                                                                       –7       Centre for Medium-
                                                                                                       –10      range Weather
                                                                                                       –13      Forecasts (ECMWF)
                                                                                                       –17      Copernicus Climate
                                                                                                                Change Service)


At the end of the year, a significant cold spell              occurred locally on 25% or more of days in
affected the north-eastern United States and                  parts of southern Queensland (Australia) and
eastern Canada, with temperatures remaining                   the Iberian Peninsula, and on 20% or more
significantly below average for two weeks or                  of days in much of eastern Australia, central
more. The cold spell was more notable for its                 Asia and southern Europe. Only western
persistence than its intensity, with a number                 Canada and parts of north-west Russia had
of locations setting or approaching records for               values below 10%. Warm nights were not as
the longest continuous period below certain                   prevalent as warm days, with the average
thresholds: one example was Boston, which                     global frequency (15.7%) below the average
had a record seven consecutive days with                      of the last 10 years.
maximum temperatures of 20  °F (−6.7  °C)
or below from 27 December to 2 January.                       Cold days, with maximum temperatures
                                                              below the 10th percentile, occurred on 6.2% of
GLOBAL ASSESSMENT OF TEMPERATURE                              days, the third-lowest value on record, whilst
EXTREMES                                                      cold nights, with minimum temperatures            Figure 18. Percentage
                                                              below the 10th percentile, had the fifth-lowest   of days in 2017 with
W hils t a f ull y glob al a s s e s s me n t of              value (5.7%). Cold extremes, both by day and      daily maximum
temperature extremes for 2017 is not yet                      night, were particularly uncommon in 2017         temperatures above the
                                                                                                                90 th percentile, from the
possible, the GHCNDEX dataset40 of extreme                    in north-western Europe, with values in a
                                                                                                                GHCNDEX dataset
temperature indices can be used to assess                     region stretching from the United Kingdom         (Source: University
values over those parts of the world for which                to Germany below 3% for cold days and 4%          of New South Wales
there is coverage. For minimum temperatures,                  for cold nights. Values above 10% were found      Climate Change
the main areas of coverage are Europe, North                  only in parts of Australia for cold nights, and   Research Centre,
America, Australia and parts of Russia; for                   in central Canada for cold days, although         Australia )
maximum temperatures, coverage also
extends to much of Asia (except the south                                     GHCNDEX TX90p ANN Avg 2017-2017
and south-west) and South Africa. There                                                                         unit: % of days
is little or no coverage in South or Central
America, or in Africa outside South Africa.

Over the areas that do have coverage,
maximum temperatures above the 90 th
percentile occurred on an average of 16.7%
of days, the third-highest value on record
after 2015 (18.5%) and 2016 (17.8%). They


 	 Donat, M.G. et al., 2013: Global Land-Based Datasets for
40

   Monitoring Climatic Extremes. Bulletin of the American
   Meteorological Society, 94:997–1006. This dataset uses
   a 1961–1990 baseline for the calculation of percentile
   thresholds.                                                             10 12 14 16 18 20 22 24 26 28 30 32




                                                                                                                             25


                                                                                                                       P00000084610
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          much of the northern United States and                                         the heavy growth of ground fuels, followed
          southern Canada had a frequency of cold                                        by a dry and hot summer, provided ideal
          days between 8% and 10%.                                                       conditions for high-intensity fires, the worst
                                                                                         of which occurred north of San Francisco in
          HEAT AND DROUGHT CONTRIBUTE TO                                                 early October. At least 44 people died, the
          NUMEROUS DESTRUCTIVE WILDFIRES                                                 worst loss of life in a wildfire in the United
                                                                                         States since 1918. Insured losses from the fire
          Extreme heat and drought contributed to                                        were assessed as at least US$ 9.4 billion,43 the
          many destructive wildfires in various parts of                                 worst for a wildfire anywhere in the world,
          the world in 2017. Whilst a return to near- or                                 even surpassing the 2016 Fort McMurray
          above-average rainfall contributed to reduced                                  fires in Canada. Total economic losses for the
          fire activity (compared with recent years)                                     2017 California fire season were assessed at
          in various tropical regions, numerous mid-                                     US$ 18 billion. A further fire north-west of
          latitude regions had severe fire seasons.                                      Los Angeles in December became California’s
                                                                                         largest fire in modern history, and indirectly
          Chile had the most significant forest fires in its                             resulted in 21 deaths in flash floods and debris
          history during the 2016/2017 summer, when                                      flows when heavy rains fell on the burnt area
          exceptionally dry conditions during 2016 were                                  in early January.44
          followed by extreme heat in December and
          January. Eleven deaths were reported, and a                                    The total area burned in the contiguous United
          total of 614 000 hectares of forest were burnt –                               States in 2017 was 53% above the 2007−2016
          the highest seasonal total on record and eight                                 average, 45 just short of the record set in
          times the long-term average.41 There were                                      2015, whilst the area burned in the western
          also significant fires during the 2016/2017                                    provinces of Canada was also far above
          southern hemisphere summer in various parts                                    average, with over 1.2 million hectares burned
          of eastern Australia (especially eastern New                                   in British Columbia, about eight times the
          South Wales) and in the Christchurch region                                    2006–2015 seasonal average. 46 Long-lived
          of New Zealand, whilst the southern South                                      fires in British Columbia and the north-west
          African town of Knysna was badly affected                                      United States also contributed to heavy
          by fire in June.                                                               smoke pollution across the region.

          It was a ver y active fire season in the                                       A significant tundra fire occurred in August
          Mediterranean region. The worst single                                         in the Disko Bay area, on the central west
          incident took place in central Portugal in                                     coast of Greenland.
          June, where 64 people died in a fire near
          Pedrogao Grande. There were further major                                      THE INFLUENCE OF ANTHROPOGENIC
          fire outbreaks in Portugal and north-western                                   CLIMATE CHANGE ON EXTREME EVENTS
          Spain in mid-October (exacerbated by strong
          winds associated with the circulation of                                       Determining the extent, if any, to which
          Hurricane Ophelia), with a further 45 deaths                                   anthropogenic climate change has influenced
          reported. The area burned in Portugal in the                                   the occurrence of extreme events has been
          period from January to October42 was more                                      an active area of research in recent years.
          than five times the 2007–2016 median. Other
          significant fires were reported, including in
          Croatia, France and Italy.                                                     43
                                                                                              	 California Department of Insurance, media release of
                                                                                                6 December 2017, http://​w ww​.insurance​.ca​.gov/​0 400​-news/​
          It was also an active fire season in western                                          0100​-press​-releases/​2 017/​release135​-17​.cfm.
          North America, both in the United States
                                                                                         44
                                                                                              	 National Centers for Environmental Information (NCEI),
                                                                                                National Climate Reports for December 2017 and January
          and Canada. A wet winter, which allowed
                                                                                                2018.
                                                                                          	 National Interagency Coordination Center, Wildland Fire
                                                                                         45

           	 From information supplied by the Chilean Directorate of
          41
                                                                                            Summary and Statistics – Annual Report 2017 https://​w ww​
             Meteorology.                                                                   .predictiveservices​.nifc​.gov/​intelligence/​2 017​_ statssumm/​
          42
               	 Portuguese Institute for Nature Conservation and Forests,                  intro​_ summary17​.pdf.
                 http://​w ww​.icnf​.pt/​portal/​florestas/​dfci/​Resource/​doc/​rel/​   46
                                                                                              	 British Columbia Wildfire Service, http://​bcfireinfo​.for​.gov​
                 2017/​8 ​-rel​-prov​-1jan​- 30set​-2017​.pdf.                                  .bc​.ca/​hprScripts/​W ildfireNews/​S tatistics​.asp.




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 CALIFORNIA, UNITED STATES
 October wildfires




                                                                                                                           NASA
Such analyses are now routinely published       three different analyses) for extremely high
in the peer-reviewed literature, many of them   rainfall in eastern China during the summer
as part of an annual report prepared as a       of 2016, but not for extreme precipitation
supplement to the Bulletin of the American      events in other parts of the world.
Meteorological Society (BAMS).
                                                Given the timeframes involved, few studies
The most-recently published BAMS report         of 2017 events have yet been published in the
included 27 analyses of extreme events that     peer-reviewed literature. One exception is
occurred in 2016 (some of them multiple         an assessment of the extremely high rainfall
analyses of the same event), and found          associated with Hurricane Harvey. The WMO
that anthropogenic climate change was a         Expert Team on Climate Impacts on Tropical
significant driver of the frequency of the      Cyclones also found 47 that, whilst there is
event concerned in 21 of the 27 cases. In       no clear evidence that climate change is
particular, of 15 analyses that assessed        making the occurrence of slow-moving, land-
ex treme temperature events (either on          falling hurricanes more or less likely, it is
land or in the ocean), 13 found that their      probable that anthropogenic climate change
probability had been significantly influenced   made rainfall rates more intense, and that
by anthropogenic climate change in the          ongoing sea-level rise exacerbated storm
“expected” direction (that is, that a warm      surge impacts. Assessments of recent events
event had become more likely or a cold          – most of which use methods that have been
event less likely). One counter-example of      documented in the peer-reviewed literature,
interest was a frost event in south-western     although the assessments themselves are
Australia in September 2016, where it was       not – are regularly published shortly after
found that anthropogenic climate change         the event through a variety of channels, and
had significantly increased the chance of the   it is likely that many of these events will be
circulation anomalies which were the primary    documented in the peer-reviewed literature
driver for the event (notwithstanding the       in due course.
background warming signal). As in previous
years, anthropogenic signals were found         47
                                                     	 WMO expert team statement on Hurricane Harvey, https://​
less consistently for extreme precipitation            public​.wmo​. int/​en/​media/​news/ ​w mo ​- expert​-team​-state-
events, with such signals being found (in              ment​- hurricane​- harvey.




                                                                                                                                    27


                                                                                                                                  P00000084612
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ATTRIBUTION OF EXTREME CLIMATE EVENTS
A common question when an extreme climate event                                Whilst some studies have found that the probability
happens is “was this event caused by climate change?”.                         of some extreme precipitation events was increased,
Scientists address this question in a different way: “Was                      most often indirectly, by climate change, for many
the chance of this event happening affected by human                           other studies the results have been inconclusive. This
influences on the climate, and if it was, by how much?”.                       is because the underlying long-term climate signal
                                                                               in extreme precipitation is less clear than it is for
Answering this question has become a very active                               temperature and, because extreme precipitation events
area of research in the last few years. Whilst a range                         typically occur on shorter spatial scales than extreme
of approaches has been used, the most common is to                             temperature events.
use climate models. The approach consists in running
these models with all known climate forcings, both                             At present, attribution studies are mostly carried out
anthropogenic and natural, and with natural forcings                           in research mode and the most common platform for
only. Comparing the probability of the event in question                       publishing these studies is through the traditional
using the two sets of model runs allows the attribution                        peer-reviewed literature. This is mostly done through
of the event to anthropogenic versus natural factors.                          an annual supplement to the State of the Climate
This is often expressed as the Fraction of Attributable                        repor t published in the Bulletin of the American
Risk (FAR), which is the probability that the event was                        Meteorological Society. Such studies usually appear
the result of anthropogenic influence on climate as                            several months following the occurrence of the event
opposed to natural variability.                                                under consideration.

Many of these studies have found that the probability                          For some types of extremes, especially extremes defined
of the extreme event has been influenced by human                              using standard indices, such as national mean monthly
activity, either directly, or indirectly through, for example,                 temperature, methods have been developed which
affecting the likelihood of occurrence of an unusual                           allow an assessment of the FAR for the event in close to
circulation anomaly which triggered the extreme event;                         real time. At present, most such reports are published
sometimes in conjunction with other influences such                            through other channels than the National Meteorological
as the El Niño/Southern Oscillation (ENSO). Of a set of                        and Hydrological Services (NMHSs) such as blogs,
131  studies published between 2011 and 2016 in the                            university or NGO websites, or the media. Operational
Bulletin of the American Meteorological Society, 65%                           attribution services under the auspices of NMHSs or
found that the event’s probability was significantly                           Regional Climate Centres are in their infancy, although
affected by anthropogenic activities.                                          many individual NMHS scientists have contributed to the
                                                                               studies that are currently being published. Nevertheless,
The strongest anthropogenic influence has been                                 it is expected that there will be substantial progress
found on temperature extremes: the likelihood of                               in this area in the next few years due to the increased
warm extremes increases and that of cold extremes                              demand from governments, the public and the media
decreases. This is especially true for events considered                       for these services on quasi-real time.
over large areas and over a long period of time, such as
a season or a year. As an example, it was found that the
2016 record-breaking global mean temperature would                                            0.1        HistoricalNat                              FAR
have been almost impossible without human activity.1                                         0.08           RCP8.5                               Threshold
Because there is a higher level of “natural” variability
                                                                               Probability




                                                                                             0.06
at individual locations and over shorter timescales, it is
more difficult to find a significant human signal in the                                     0.04
occurrence of short-term extremes at specific places,                                        0.02
although studies of that type are also starting to emerge.
                                                                                               0
                                                                                                    ‒3         ‒2        ‒1      0        1        2         3
It has been more difficult to identify anthropogenic                                                           Central England Temperature anomaly (°C)
influence in the attribution of precipitation extremes.
                                                                               Probability distribution of annual mean Central England Temperature under
	 Knutson, T.R. et al., 2017 : CMIP5 model-based assessment of anthropogenic
1                                                                              natural (blue) and RCP 8.5 (brown) model simulations as of 2006, with the
  influence on record global warmth during 2016. Bulletin of the American      2006 value (the highest on record) shown as a black dashed line (Source:
  Meteorological Society, 99:S11-S15.                                          Andrew King, University of Melbourne, Australia)




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Climate risks and related impacts
Climate-related extreme events and disasters
take a heavy toll on human well-being and
on various sectors of national economies.
The year 2017 was particularly severe for
disasters with high economic impacts.
Munich Re assessed total disaster losses
from weather and climate-related events in
2017 at US$ 320 billion, 48 the largest annual
total on record (after adjustment for inflation).

AGRICULTURE AND FOOD
SECURITY
Exposure and vulnerabilit y to ex treme
events can destroy agricultural assets and
infrastructure, causing serious damage to
the livelihoods and food security of millions
of people. A concern for the World Food
Programme (WFP) is that more than 80% of the                                   In the Horn of Africa, rainfall deficits led to the                        Figure 19. Number of
world’s food-insecure people live in countries                                 failure of the 2016 rainy season, followed by                              severely food-insecure
with degraded environments prone to natural                                    a harsh January–February 2017 dry season,                                  people in Kenya,
hazards. When climate-related events occur,                                    and a poor March–May rainy season. As a                                    Somalia and Ethiopia
                                                                                                                                                          (Source: Horn of Africa:
the situation of already-vulnerable people can                                 result, the number of food-insecure people
                                                                                                                                                          Humanitarian Impacts
quickly deteriorate into food and nutrition                                    rose significantly in Eastern Africa. 51 The                               of Drought – Issue 9,
crises. Problems of acute food insecurity                                      most affected areas include southern and                                   20 August 2017 (OCHA))
and malnutrition tend to be magnified where                                    south-eastern Ethiopia, northern and coastal
natural hazards such as droughts and floods                                    Kenya, almost all of Somalia, south-eastern
compound the consequences of conflicts.49                                      areas of South Sudan and north-eastern
                                                                               areas of Uganda. In Somalia, as of June 2017,
The disruption of agricultural production in                                   more than half of the cropland was affected
rural areas of developing countries affects the                                by drought, and herds had reduced by 40 to
already fragile livelihoods of the poorest and                                 60% since December 2016 due to increased
most vulnerable people in particular. A review                                 mortality and distress sales.
carried out by FAO found that agriculture
(crops, livestock, fisheries, aquaculture and                                  In Ethiopia, prolonged drought jeopardized
forestry) accounted for 26% of all the damage                                  crop production and caused a reduction in the
and loss associated with medium to large-                                      availability of pasture, severely constraining
scale climate-related disasters. 50                                            the purchasing power of pastoral households.
                                                                               In drought-affected areas of Kenya, according
                                                                               to the Vegetation Condition Index (VCI), as of
                                                                               May 2017 drought was associated with a sharp
48
     	 Munich Re, 2018: Hurricanes cause record losses in 2017 –               increase in staple crop prices coupled with
       The year in figures. Release of 4 January 2018. The losses
                                                                               declining livestock prices and consequent
       quoted by Munich Re include both insured and non-insured
       losses, but may calculate indirect economic losses (e.g.                erosion of livelihoods and threat to food
       business interruption) in a different way than some other               security.52
       sources.
49
     	 Food and Agriculture Organization of the United Nations
       (FAO), International Fund for Agricultural Development                   	 United Nations Office for the Coordination of Humanitarian
                                                                               51

       (IFAD), United Nations Children's Fund (UNICEF), World Food                Affairs (OCHA), 2017: Horn of Africa: Humanitarian Impacts
       Programme (WFP) and World Health Organization (WHO),                       of Drought, 9 (10 August 2017), https://​reliefweb​.int/​report/​
       2017: The State of Food Security and Nutrition in the World                somalia/​horn​-africa​-humanitarian​-impacts​- drought​-issue​
       2017 – Building resilience for peace and food security. FAO,               -9​-10​-aug​-2017.
       Rome, http://​w ww​.fao​.org/​3 /​a​-I7695e​.pdf.                       52
                                                                                    	 Food and Agriculture Organization of the United Nations
50
     	 Food and Agriculture Organization of the United Nations                        (FAO), 2017: Global Information and Early Warning System
       (FAO), 2017:The Impact of Disasters on Agriculture – Assess-                   on Food and Agriculture (GIEWS). Special Alert No. 339.
       ing the information gap, http://​w ww​.fao​.org/​3 /​a-​ i7279e​.pdf.          Region: East Africa, http://​w ww​.fao​.org/​3 /​a​- i7537e​.pdf.




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           DATA FOR MONITORING IMPACTS OF CLIMATE-RELATED EXTREME
           EVENTS AND DISASTERS
           At the Seventy-first Session of the United                   Work is ongoing with the international
           Nations General Assembly1 and the Forty-                     statistical community to address some
           eighth Session of the United Nations                         of these challenges. The outcomes of the
           Statistical Commission, 2 the data and                       Expert Group on Disaster-related Statistics
           indicators for the measurement of progress                   will be presented at the Seventy-fourth
           in achieving the global targets of the Sendai                Session of the Economic and Social
           Framework for Disaster Risk Reduction                        Commission for Asia and the Pacific. They
           2015–2030 and of the 2030 Agenda for                         include the development of the disaster-
           Sustainable Development were adopted.                        related statistical framework (DRSF) to
           This enabled integrated monitoring and                       monitor the achievement of the global
           reporting by countries of progress in                        targets of the Sendai Framework and the
           managing disaster and climate risk and                       Sustainable Development Goals.
           the corollary impacts, using multi-purpose
           datasets and common indicators.                              Established by the Conference of European
                                                                        Statisticians of the United Nations Economic
           Data are currently available in most countries               Commission for Europe, the Task Force on
           to allow some degree of measurement                          Measuring Extreme Events and Disasters
           of the impact of climate-related extreme                     is clarifying the role of official statistics
           events and disasters – including via the                     in providing data related to ex treme
           growing number of national disaster                          events and disasters, as well as possible
           loss accounting systems – as detailed in                     support of national statistical offices to the
           the Sendai Framework Data Readiness                          implementation of the Sendai Framework
           Review 2017.3 However, considerable work                     and the 2030 Agenda.
           is required if countries are to be able to
           monitor the agreed indicators in the manner                  Countries are supported in systematic
           anticipated by the two intergovernmental                     data entry and reporting by the Sendai
           wor k ing gr oup s – the Op en - end e d                     Framework Monitoring system, an online
           In t er gover nm e n t al E x p er t Wor k ing               monitoring facility which became available
           Group on Indicators and Terminology                          on 1 March 2018, and which is supported
           Relating to Disas ter Risk Reduc tion                        by detailed guidance on metadata and
           (OIEWG) and the Inter-agency and Expert                      c ompu t a tional me thodologie s . T he
           Group on Sustainable Development Goal                        integration of monitoring and reporting
           Indicators (IAEG-SDGs). Many countries are                   with The Paris Agreement will be discussed
           confronted with challenges related to data                   at the Thirteenth Meeting of the United
           availability, accessibility and quality, which               Nations Framework Convention on Climate
           will need to be addressed if data are to be                  Change (UNFCCC) Adaptation Committee.
           sufficiently consistent and comparable to
           allow meaningful measurement of progress
           and impact. 

           1
            	 Resolution (A/RES/71/276) approving the Report of the
              Open-ended Intergovernmental Expert Working Group
              on Indicators and Terminology relating to Disaster Risk
              Reduction (A/71/644).
           2
            	 Report of the Inter-agency and Expert Group on Sus-
              tainable Development Goal Indicators – Note by the
              Secretary-General (E/CN.3/2017/2).
           3
            	 United Nations Office for Disaster Risk Reduction
              (UNISDR): Sendai Framework data readiness review
              2017 – Global summary report, https://www.preven-
              tionweb.net/publications/view/53080.




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In the Philippine s, over the las t t wo                                       Population affected (in millions) due to floods in
decades, 15  times more infants have died                                               Bangladesh, India and Nepal,
in the 24 months after typhoons than in the                                                  as of 24 August 2017
typhoons themselves. Of those infants, 80%
were girls.53 In Ethiopia, children born in an                                                                Total number of
                                                                                    Country
area affected by disasters are 35.5% more                                                                     people affected
likely to be malnourished and 41% more likely                                    Bangladesh                             6.9
to be stunted.54                                                                      India                            32.1
                                                                                     Nepal                              1.7
Over the last three years, agricultural
production and related livelihoods were
heavily compromised by recurrent and intense                               Source: United Nations Office for the Coordination of
floods in many countries. In Malawi, the 2015                              Humanitarian Affairs (OCHA)
floods resulted in more than US$ 60 million
in damage and losses to crops, livestock,                                 Excess precipitation in late March and early
fisheries and forestry assets, and production                             April 2017 triggered floods in north-eastern
flows. More than 37% of the total economic                                agricultural areas of Bangladesh, affecting
impact of the 2015 floods in Myanmar occurred                             crop production in the Sylhet, Dhaka and
in the agricultural sector.55                                             Mymensingh divisions in particular. 57 The
                                                                          monsoon season in South Asia brought
In 2017, several flood events affected the                                the worst flooding in the region for years.
agricultural sector, especially in Asian                                  Between June and August 2017, flooding
countries. Heavy rains in May 2017 triggered                              in Nepal, Bangladesh and northern India
severe flooding and landslides in south-                                  affected millions of people and caused death
western areas of Sri Lanka. The adverse                                   and displacement across the three countries.
impact of floods on crop production further
aggravated the food security conditions in                                The end of the climate anomalies associated
the country already stricken by drought.56 In                             with the 2015/2016 El Niño, both on land and
July 2017, localized floods in south and central                          in the ocean, resulted in improved agricultural
Myanmar contributed to losses in paddy crop,                              and fisheries production in some areas.58 More
stored food and livestock, and affected at                                normal rainfall patterns have contributed
least 200 000 people in the Magway, Sagaing,                              to two successive record-breaking global
Bago and Ayeyarwady regions and Mon State.                                cereal harvests since 2015. World wheat
It was the third consecutive year in which                                production hit an all-time high in 2016 and
severe floods affected Myanmar during the                                 is expected to remain at near-record levels
monsoon season.                                                           in 2017, mainly due to larger crops in India
                                                                          and the Russian Federation. More abundant
                                                                          rains since mid-2016 in India, Thailand and
                                                                          the Philippines have increased rice output
                                                                          to a level that marked recoveries in these
53
     	 Anttila-Hughes, J. and S. Hsiang, 2013: Destruction, Disin-        countries. As a result, world rice production
       vestment, and Death: Economic and Human Losses Following
       Environmental Disaster. Available at SSRN: http://​ssrn​.com/​
                                                                          reached a fresh peak in 2016 and was expected
       abstract​= ​2 220501.                                              to expand further in the 2017 season. As to
54
     	 Intergovernmental Panel on Climate Change (IPCC), 2007:            annual oilcrops, global production recovered
       Fourth Assessment Report, https://​w ww​. ipcc​.ch/​report/​       swiftly in 2016/2017, actually posting a new
       ar4/​.                                                             record, and is anticipated to grow modestly
55
     	 Government of Myanmar. (2015). Myanmar. Post-disaster
       needs assessment of floods and landslides, July–Sep-
       tember 2015, http://​documents​.worldbank​. org/​curated/​         57
                                                                               	 Food and Agriculture Organization of the United nations
       en/​6 46661467990966084/​M yanmar​- Post​- disaster​- needs​              (FAO), 2017: GIEWS – Global Information and Early Warning
       -assessment​- of​- floods​- and​- landslides​- July​- September​          System. Country Brief: Bangladesh, http://​w ww​.fao​.org/​
       -2015.                                                                    giews/​countrybrief/​country​. jsp​?code​= ​BGD.
56
     	 Food and Agriculture Organization of the United nations (FAO)      58
                                                                               	 Food and Agriculture Organization of the United Nations
       and World Food Programme (WFP), 2017: Special Report.                     (FAO), 2017: Food Outlook – Biannual Report on Global Food
       FAO/WFP Crop and Food Security Assessment Mission to                      Markets, November 2017, http://​w ww​.fao​.org/​3 /​a​-I8080e​
       Sri Lanka, http://​w ww​.fao​.org/​3 /​a​- i7450e​.pdf.                   .pdf.




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                          in 2017/2018. Conversely, the recovery in                                               eastern and central, and later southern Africa
                          palm oil production was more gradual and                                                were likely aided by El Niño-driven weather
                          is expected to revert to its usual growth rate                                          conditions that accelerated transmission
                          only in 2018. There was also a strong recovery                                          across the region starting in mid-2015, with
                          in the Anchoveta fishery off the Pacific coast of                                       control efforts still underway in several
                          South America as sea-surface temperatures                                               countries in 2017. Flood events are also often
                          in the region reverted to near average.                                                 associated with outbreaks of water-borne
                                                                                                                  diseases or those linked to poor sanitation,
                          HEALTH                                                                                  as was reported in Bangladesh during the
                                                                                                                  August 2017 floods.
                          The global health impacts of heatwaves
                          depend not only on the overall warming trend,                                           POPULATION DISPLACEMENT
                          but also on how heatwaves are distributed
                          across the area where people live. Recent                                               One of the adver se c onsequenc es of
                          research shows that the overall risk of heat-                                           climate variability and change is population
                          related illness or death has climbed steadily                                           displacement. Most such displacement
                          since 1980, with around 30% of the world’s                                              is internal and linked to sudden onset of
                          population now living in climatic conditions                                            extreme weather events. However, slow
                          that deliver potentially deadly temperatures                                            onset phenomena, such as drought s,
                          at least 20 days a year.59 Between 2000 and                                             desertification, coastal erosion and sea-level
                          2016, the number of vulnerable people                                                   rise, can also lead to internal and cross-border
                          exposed to heatwave events has increased                                                displacement. These slow-onset events can
                          by approximately 125 million.60                                                         act as a threat multiplier by, for example,
                                                                                                                  exacerbating conflict which, in turn, can
                          In cholera-endemic countries, an estimated                                              contribute to population displacement.
                          1.3 billion people are at risk, while in Africa
                          alone about 40 million people live in cholera                                           In 2016, weather-related disasters displaced
                          “hotspots”. 61 These cholera “hotspots”                                                 23.5 million people.62 As in previous years,
                          have been identified across most endemic                                                the majority of those internal displacements
                          countries facing recurrent and predictable                                              were associated with floods or storms and
                          cholera outbreaks, often coinciding with the                                            occurred in the Asia-Pacific region. The most
                          rainy season. The World Health Organization                                             striking example of displacement due to major
                          has recognized that large cholera outbreaks in                                          climate events is from Somalia, where it was
                                                                                                                  reported that 892 000 people were displaced
Figure 20. The change                                                                                             internally, mostly in the first half of 2017.63 Of
in exposure (in people                                       175                                                  the displaced people who were surveyed,
aged over 65 years) to                                                                                            approximately 90% indicated that drought was
                           Change in exposure to heatwaves




                                                             150
heatwaves from 2000                                          125                                                  the primary reason for displacement, while the
to 2016 relative to the
                                  (millions per year)




                                                             100                                                  remaining 10% gave reasons closely related
heatwave exposure
average from 1986 to                                         75                                                   to drought or cited drought as a contributing
2008                                                         50                                                   factor, such as food or livelihood insecurity.64
(Source: World Health                                        25
Organization (WHO))                                          0                                                     	 Internal Displacement Monitoring Centre (IDMC), 2017:
                                                                                                                  62

                                                             ‒25                                                     Global Report on Internal Displacement 2017, http://​w ww​
                                                                   2000 2002 2004 2006 2008 2010 2012 2014 2016      .internal ​- displacement ​. org/​global​- report/​grid2017/​pdfs/​
                                                                                        Year                         2017​- GRID​.pdf.
                                                                                                                  63
                                                                                                                       	 Office of the United Nations High Commissioner for Refugees
                                                                                                                         (UNHCR), 2018: Somalia. UNHCR Emergency Response at
                          59
                               	 Mora C. et al., 2017: Global risk of deadly heat. Nature Climate                        31 December 2017, https://​r eliefweb​. int/​r eport/​somalia/​
                                 Change, 7. DOI:​10​.1038/​nclimate3322.                                                 somalia​-unhcr​- emergency​-response​- 31​- december​-2017.
                          60
                               	 Watts N. et al., 2017: The Lancet Countdown on Health                            64
                                                                                                                       	 As of 23 June, 687 906 Somali IDPs interviewed by the
                                 and climate change: From 25 years of inaction to a global                               UNHCR-led Protection & Return Monitoring Network
                                 transformation for public health. Lancet, 30 October 2017.                              (PRMN) indicated that drought was the primary reason for
                          61
                            	 World Health Organization (WHO), 2017: Weekly epidemi-                                     displacement, while 72 688 IDPs indicated that drought was
                              ological record, No. 22, 2 June 2017, http://​apps​.who​. int/​                            a contributing factor, https://d
                                                                                                                                                        ​ ata2.​ unhcr.​ org/e
                                                                                                                                                                             ​ n/d
                                                                                                                                                                                 ​ ocuments/​
                              iris/​bitstream/​10665/​2 55611/​1/ ​W ER9222​.pdf​?ua​=​1.                                download/ ​5 8290.




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                                                                                                                               Figure 21. The effect
                                                                                                                               of a 1 °C increase in
                                                                                                                               temperature on real per
                                                                                                                               capita output at the grid
                                                                                                                               level.
                                                                                                                               (Sources: Natural
                                                                                                                               Earth; ScapeToad;
                                                                                                                               United Nations World
                                                                                                                               Population Prospects:
                             4.23                                                                                              The 2015 Revision; World
                             3.58                                                                                              Bank Group Cartography
                             2.93                                                                                              Unit; and IMF staff
                             2.28
                                                                                                                               calculations)
                             1.63
                             0.98
                             0.33
                            -0.32
                            -0.97
                            -1.62
                            -2.27




ECONOMIC IMPACTS                                                             In countries with high average temperatures,
                                                                             an increase in temperature dampens economic
The International Monetary Fund (IMF) World                                  activity, whereas it has the opposite effect in
Economic Outlook published in October 201765                                 much colder climates.
indicates that increases in temperature have
uneven macroeconomic effects. Adverse                                        For the median emerging market economy,
consequences are concentrated in regions                                     a 1  °C increase from an average annual
with relatively hot climates, where a                                        temperature of 22 °C lowers growth in the
disproportionately large number of low-                                      same year by 0.9%. For a median low-income
income countries are located. In these                                       developing country, with an annual average
countries, a rise in temperature lowers per                                  temperature of 25  °C, the effect of a 1  °C
capita output, in both the short and medium                                  increase in temperature is even larger: growth
term, by reducing agricultural output,                                       falls by 1.2%. Countries whose economies
suppressing the productivity of workers                                      are projected to be significantly adversely
exposed to heat, slowing investment and                                      af fected by an increase in temperature
damaging health.                                                             produced only about 20% of global GDP in
                                                                             2016; however, they are currently home to
The analysis confirms the existence of a                                     nearly 60% of the global population and are
statistically significant nonlinear effect of                                projected to be home to more than 75% by
temperature on per capita economic growth.                                   the end of the century.

65
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       -2017.




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          Vector-borne diseases:
          Zika in the Americas
          Ángel G. Muñoz,1 Rachel Lowe, 2                                  risk of transmission signal (black curve in
          Anna M Stewart-Ibarra, 3 Joy Shumake-
                                             4
                                                                           the bottom panel of the figure) is consistent
          Guillemot, 4 Madeleine Thomson1                                  with long-term temperature increase due to
                                                                           global warming and with inter-annual climate
          Vector-borne diseases are highly climate                         variability modes (filled red/blue curve shown
          sensitive and favourable climate conditions                      in bottom panel of the figure) such as El Niño,
          can trigger and amplify disease transmission.                    other non-climatic factors come into play to
          Warm temperatures increase virus replication                     explain the 2014–2016 ZIKV epidemic.
          rates and drive the development of juvenile
          mosquitoes, adult feeding and egg laying                         In fact, in addition to suitable climate conditions,
          behaviour. Rainfall excess and deficit have                      the rapid transmission that occurred in the
          similar outcomes in terms of mosquito                            initial Brazilian outbreak appears to have been
          proliferation, as containers such as domestic                    aided by a combination of factors including a
          pots, tires, drums and tanks tend to create                      massive susceptible population, alternative
          suitable breeding sites in both cases.                           non-vector transmission, and a highly mobile
                                                                           population (Lowe et al., 2018). Furthermore,
          The emergence of the Zika virus (ZIKV)                           the occurrence of shocks such as natural
          epidemic, mainly carried by the Aedes                            disasters can also exacerbate population
          mosquito in Latin America and the Caribbean in                   vulnerability. This was observed following
          2014–2016, occurred during a period of severe                    the major earthquake in coastal Ecuador
          drought and unusually high temperatures                          in April 2016, which seemingly enhanced
          developed since at least 2013 (see top and                       the ZIKV transmission in that region where
          middle panels of the figure). These conditions                   suitable hot and dry local climate conditions
          have been shown to be associated with a                          were already present (Sorensen et al., 2017).
          cross-timescale combination of signals
          including the 2015/2016 El Niño event, decadal                   Currently, local ZIKV transmission and the
          variability and climate change (Muñoz et al.,                    associated and resulting fetal malformations
          2016a,b).                                                        and neurological disorders continue to
                                                                           be monitored and recorded in the region
          A common approach to assess the potential                        and worldwide. Predictions of the timing
          ris k of tr an s mis sion of Ae d e s - b orne                   and magnitude of outbreaks of multiple
          epidemics is via the estimation of the basic                     arboviruses, including ZIKV, can be improved
          reproduction number, R0, which is in general                     using a combination of climate forecasts
          a function of environmental variables, such                      and sero-prevalence survey data (Lowe et
          as air temperature, and ento-epidemiological                     al., 2017). For example, real-time seasonal
          parameters (Mordecai et al, 2017). Using                         climate forecasts have been used to produce
          an R0 model which considers the two most                         dengue early warnings for Brazil (Lowe et
          common Aedes mosquitoes in Latin America                         al., 2014, 2016), and the use of the R0 model
          and the Caribbean, a recent study (Muñoz                         mentioned above and state-of the-art climate
          et al., 2017) showed that high temperatures                      forecasts provided by the North American
          enhanced the risk of transmission during the                     Multi-Model Ensemble (NMME) project
          2014–2016 ZIKV epidemic, and that neither El                     could have successfully predicted the recent
          Niño nor climate change can be independently                     epidemic at least 1–3 months in advance for
          blamed for this event. While the potential                       several high-risk ZIKV zones, including its
                                                                           epicenter in Northeast Brazil (Muñoz et al.,
                                                                           2017, Epstein et al., 2017).
          	 International Research Institute for Climate and Society,
          1

            Earth Institute, Columbia University, New York.
          	 Centre for the Mathematical Modelling of Infectious Diseases
          2

            and Department of Infectious Disease Epidemiology, London
            School of Hygiene & Tropical Medicine, London.
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          3

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          4

            Geneva.




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                                                                                                                                                                                                      Annual rainfall
                                                                         30ºN
                                                                                                                                                                                                      anomalies (top panel)
                                                                300
                     more rain
                       than
                                                                         20ºN
                                                                                                                                                                                                      and temperature
                                                                                                                                                                                                      anomalies (middle
                                                                200
                                                                         10ºN
                      normal
   Rainfall anomaly




                                                                          EQ                                                                                                                          panel) in 2013, 2014 and
                                                                100




                                                                                                                                                                                                      2015; anomalies are
        [mm]




                                                                         10ºS
                                                                0




                                                                         20ºS                                                                                                                         computed with respect
                                                                –100




                                                                         30ºS                                                                                                                         to the climatological
                         less rain
                                                                         40ºS                                                                                                                         period 1981–2010.
                                                                –200




                           than
                          normal                                         50ºS
                                                                                 2013                                  2014                                  2015                                     Standardized anomalies
                                                                4 –300




                                                                                                                                                                                                      of R 0 (bottom panel;
                                                                         30ºN
                                                                                                                                                                                                      units in standard
                         warmer                                          20ºN
                                                                                                                                                                                                      deviations). The
   Temperature anomaly




                          than
                         normal
                                                                         10ºN
                                                                                                                                                                                                      total potential risk
                                                                2




                                                                          EQ                                                                                                                          of transmission
           [ºC]




                                                                         10ºS                                                                                                                         (black curve) shows
                                                                0




                                                                         20ºS                                                                                                                         an upward trend
                                                                         30ºS                                                                                                                         consistent with climate
                                                                –2




                         colder                                          40ºS                                                                                                                         warming and cannot be
                          than
                                                                                                                                                                                                      explained only by the
                         normal                                          50ºS
                                                                                 2013                                  2014                                  2015
                                                                                                                                                                                                      contribution of El Niño
                                                                –4




                                                                             120ºW   100ºW   80ºW   60ºW   40ºW    120ºW   100ºW   80ºW   60ºW    40ºW   120ºW   100ºW   80ºW   60ºW   40ºW
                                                                                                                                                                                                      and other year-to-year
                                                               0.8
                                                                                                                                                                                                      climate modes (filled
                                                                                                                                                                                                      curve): a combination
                                                               0.6
                               R0 standardized anomalies (σ)




                                                                                                                                                                                                      of climate signals has
                                                                                                                                                                                                      been driving the risk
                                                               0.4
                                                                                                                                                                                                      of transmission in the
                                                                                                                                                                                                      region. Black boxes
                                                               0.2
                                                                                                                                                                                                      indicate the sector of
                                                                         0                                                                                                                            analysis (After Muñoz
                                                                                                                                                                                                      et al., 2016b, 2017).
                                                               –0.2

                                                               –0.4

                                                               –0.6
                                                                  1950                       1960           1970              1980               1990            2000           2010          2017




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